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                          Exhibit 23
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IN THE HIGH COURT OF JUSTICE                          Claim No 2009 Folio 1099
QUEEN'S BENCH DIVISION
COMMERCIAL COURT

Before the Honourable Mr Justice Teare

                                                                                    t.±:t/
And the Honourable Mr Justice Field and the Honourable Mr Justice Flaux         coUFZT O,r:-
Dated 23 November 2012 (amended on 25 January 2013, 31 July 2013, 23 Ja   .:t·liy            /c/
2014, 14 March 2014 and 24 March 2014)                                                 "~          m
                                                                          *    0 1 APR Z014        *
BETWEEN:
                               JSC BTA BANK
                                                            A
                                    -and-

                            (1) MUKHTAR ABLYAZOV
                                                                   Respondent/
                                                                First Defendant
                            (2) ROMAN SOLODCHENKO
                         (3) ZHAKSYLYK ZHARIMBETOV
                         (4) DREY ASSOCIATES LIMITED
                  (5) ANTHONY EDWARD THOMAS STROUD
                            (6) JOHN DOMINIC WILSON
                             (7) SARAH JULIET WILSON
                    (8) INTERFUNDING FACILITIES LIMITED
                           (9) ALEXANDER UDOVENKO
                               (1 0) 000 MARION PLUS
                             (11) 000 TETROCONSULT
                         (12) 000 KHUDRED-SERVICE 5
                                   (13) 000 TRAIKER
                                  (14) 000 STEK-1000
       (15) 000 PROYEKTNO-STROITELNAYA KOMPANIYA AMK-INVEST
                         (16) TURANALEM CAPITAL LLC
                           (17) ZRL BETEILIGUNGS AG
                                                        Defendants


                                  ORDER


                               PENAL NOTICE

IF YOU MUKHTAR ABLYAZOV DISOBEY THIS ORDER YOU MAY BE HELD TO BE
IN CONTEMPT OF COURT AND MAY BE IMPRISONED, FINED OR HAVE YOUR
ASSETS SEIZED.

ANY OTHER PERSON WHO KNOWS OF THIS ORDER AND DOES ANYTHING
WHICH HELPS OR PERMITS THE RESPONDENT TO BREACH THE TERMS OF THIS
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ORDER MAY ALSO BE HELD TO BE IN CONTEMPT OF COURT AND MAY BE
IMPRISONED, FINED OR HAVE THEIR ASSETS SEIZED.


UPON hearing the application of the Applicant dated 19 November 2012 made on notice
to the Respondent

AND UPON hearing Counsel for the Applicant and Counsel for the Respondent


AND UPON hearing a without notice application made by the Applicant for the
amendment of this Freezing Injunction to include the assets listed at (18) and (19) of
Schedule E (disclosed assets), the companies listed in Schedule J (undisclosed assets) ,
the companies listed in Schedule K (other undisclosed assets), the companies listed in
Schedule L (further undisclosed assets), and the companies listed in Schedule M and
Schedule N (undisclosed assets)

AND UPON reading the evidence filed


IT IS ORDERED THAT:


   1. This is a Freezing Injunction made against the Respondent Mukhtar Ablyazov
      (the "Respondent") by Mr Justice Teare on 23 November 2012. lt comes into
      effect upon the moment of judgment being entered against Mr Ablyazov in this
      action. The Judge accepted the undertakings set out in Schedule A at the end of
      this Order.

   2. The Respondent has a right to apply to the court to vary or discharge this Order
      - see paragraph 11 below.

FREEZING INJUNCTION - RESPONDENT'S ASSETS

   3.   Until further order herein, the Respondent must not, except with the prior written
        consent of the Applicant's solicitors-

            a.   In any way dispose of, deal with or diminish the value of any of his assets
                 in England and Wales; or

            b.   In any way dispose of, deal with or diminish the value of any of his assets
                 outside England and Wales.

   4.   Paragraph 3 applies to all the Respondent's assets whether or not they are in his
        own name and whether they are solely or jointly owned and whether or not the
        Respondent asserts a beneficial interest in them. For the purpose of this Order
        the Respondent's assets include any asset which he has the power, directly or
        indirectly, to dispose of or deal with as if it were his own. The Respondent is to be
        regarded as having such power if a third party holds or controls the asset in
        accordance with his direct or indirect instructions.

   5. Without prejudice to the generality of the foregoing, the Respondent shall not
      dispose of, deal with or diminish the value of any of the shares in, or the direct or



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         indirect assets of, any of the companies listed in Schedules B, C, D, E, F, G, I, J,
         K, L, M or N or the properties listed in Schedule G hereto.

EXCEPTIONS

   6.    Paragraph 3 does not prohibit the Respondent from spending up to £2,000 per
         week towards his individual ordinary living expenses, nor does it prohibit the
         Respondent from spending a reasonable amount on legal advice and
         representation.     But before spending any money on legal advice and
         representation the Respondent must notify the Applicant's legal representatives
         in writing where the money to be spent is to be taken from.




NOT TO LEAVE THE JURISDICTION

    7.    In order to ensure complete compliance with this Order the Respondent is
          restrained from leaving England and Wales until further order herein.

    8.    The undertakings recorded in paragraph 8 of the order of Mr Justice Teare
          dated 12 November 2009 (as subsequently amended) and the consent order
          dated 28 April 2010 regarding the basis on which the Respondent's passports
          and travel documents are to be held shall continue in force. The court accepted
          the further undertaking given by Addleshaw Goddard LLP that it will hold any
          passport or other travel document of the Respondent provided to it to the further
          order of the Court.

ADDITIONAL DIRECTIONS

    9.    The sum of £2,500,000 (two million five hundred thousand pounds) provided by
          the Applicant by way of fortification and further fortification of its undertakings
          pursuant to the order of Mr Justice Teare dated 12 November 2009 (as
          subsequently amended) be released to the Applicant forthwith.

VARIATION OR DISCHARGE OF THIS ORDER

    10. Anyone other than the Respondent served with or notified of this Order may
        apply to the court at any time to vary or discharge this Order (or so much of it as
        affects that person), but they must first inform the Applicant's solicitors. If any
        evidence is to be relied upon in support of the application, the substance of it
        must be communicated in writing to the Applicant's solicitors in advance.

    11. The Respondent may apply to vary or discharge this Order but, save for cases
        of urgency, shall give the Applicant's solicitors not less than three clear days'
        notice of such application. In cases of urgency he must give the Applicant's
        solicitors as much notice as possible of the application and if any evidence is to
        be relied upon in support of the application, the substance of it must be
        communicated in writing to the Applicant's solicitors as soon as possible in
        advance of any such urgent application.

INTERPRETATION OF THIS ORDER




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    12. A Respondent who is an individual who is ordered not to do something must not
        do it himself or in any other way. He must not do it through others acting on his
        behalf or on his instructions or with his encouragement. For the purposes of this
        Order a company shall mean any English or overseas company or other body
        corporate, incorporated partnership or legal entity.

PARTIES OTHER THAN THE APPLICANT AND RESPONDENT

Effect of this Order

    13.     lt is a contempt of court for any person notified of this Order knowingly to
            assist in or permit a breach of this Order. Any person doing so may be
            imprisoned, fined or have their assets seized.



Set off by banks

    14.    This injunction does not prevent any bank from exercising any right of set off it
           may have in respect of any facility which it gave to the Respondent before it
           was notified of this Order.

Persons outside England and Wales

    15. (a)     Except as provided in paragraph (b) below, the terms of this Order do not
                affect or concern anyone outside the jurisdiction of this court.

          (b)   The terms of this Order will affect the following persons in a country or
                state outside the jurisdiction of this court-

                    i. the Respondent or any nominee, trustee, agent or attorney
                       appointed by him or holding assets (whether directly or indirectly)
                       for him;

                    ii. any person who-

                            1. is subject to the jurisdiction of this court;

                           2. has been given written notice of this Order at his
                              residence or place of business within the jurisdiction of
                              this court; and

                           3.   is able to prevent acts or omissions outside the jurisdiction
                                of this court which constitute or assist in a breach of the
                                terms of this Order; and

                   iii. any other person, only to the extent that this Order is declared
                        enforceable by or is enforced by a court in that country or state.

          (c)   The persons referred to in paragraph 15(b)(i) and/or 15(b)(iii) above shall
                include (without limitation) those persons listed in Schedule H hereto.

Assets located outside England and Wales

    16.    Nothing in this Order shall, in respect of assets located outside England and
           Wales, prevent any third party (which for the avoidance of doubt shall not

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           include the persons mentioned in paragraph 15(b)(i) above) from complying
           with-

            (a)   what it reasonably believes to be its obligations, contractual or
                  otherwise, under the laws and obligations of the country or state in
                  which those assets are situated or under the proper law of any contract
                  between itself and the Respondent; and

            (b)   any orders of the courts of that country or state, provided that
                  reasonable notice of any application for such an order is given to the
                  Applicant's solicitors.




Withdrawals by the Respondent

    17.   No bank need enquire as to the application or proposed application of any
          money withdrawn by the Respondent if the withdrawal appears to be permitted
          by this Order.

SERVICE OF THIS ORDER

    18.   Personal service of this order is dispensed with. Service of this order will be
          deemed to be good and effective if a copy is sent by e-mail to the
          Respondent's solicitors Addleshaw Goddard LLP at the e-mail address
          ian.hargreaves@addleshawgoddard.com. Such e-mail shall be sent by a
          partner of the Applicant's solicitors.

COSTS

    19.   The Respondent do pay the Applicant's costs of this application, to be the
          subject of detailed assessment if not agreed.

COMMUNICATIONS WITH THE COURT

All communications to the court about this Order should be sent to -

       The Admiralty and Commercial Court Listing Office, 7 Rolls Building, Fetter Lane,
       London EC4A 1NL, quoting the claim number. The telephone number is 020
       7947 6826.

       The offices are open between 10 a.m. and 4.30 p.m. Monday to Friday.

SCHEDULE A: UNDERTAKINGS GIVEN TO THE COURT BY THE APPLICANT

   (1) If the court later finds that this Order has caused loss to the Respondent, and
       decides that the Respondent should be compensated for that loss, the Applicant
       will comply with any order the court may make.

   (2) Anyone notified of this Order will be given a copy of it by the Applicant's legal
       representatives.

   (3) The Applicant will pay the reasonable costs of anyone other than the Respondent
       or any of his directly or indirectly owned companies or his nominees or

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       trusts/trustees which have been incurred as a result of this Order, including the
       costs of finding out whether that person holds any of the Respondent's assets
       and if the court later finds that this Order has caused such person loss, and
       decides that such person should be compensated for that loss, the Applicant will
       comply with any order the court may make.

   (4) If this Order ceases to have effect against the Respondent the Applicant will
       immediately take all reasonable steps to inform in writing anyone to whom it has
       given notice of this Order, or who he has reasonable grounds for supposing may
       act upon this Order, that it has ceased to have effect against the Respondent.




NAME AND ADDRESS OF APPLICANT'S LEGAL REPRESENTATIVES

Hogan Lovells International LLP                Ref. Christopher Hardman
Atlantic House,                                Tel 020 7296 2000
Holborn Viaduct,                               Fax 020 7296 2001
London,                                        Email: chris.hardman@hoganlovells.com
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                                     SCHEDULE B



      Company name                        Subsidiaries        Jurisdiction   Reg. no.

1.    ABREMIN HOLDINGS LIMITED                                   Cyprus



2.    AEG SYSTEMS INC.                                             BVI         492383

3.    AFRELTA HOLDINGS LIMITED

4.    ALARA INTERNATIONAL INC.                  SA MAL             BVI         304518
                                              PROPERTIES

5.    ALDAN GLOBAL LIMITED                                         BVI

6.    ALDRIDGE VENTURES LTD                                    Seychelles

7.    ALEDAR HOLDINGS LIMITED                                      BVI        1494228

8.    ALPHASEA INVESTMENTS LIMITED                                 BVI        1474198

9.    AMADOR INVESTMENTS LTD.                                    Cyprus        176354

10.   AMBERWAY LIMITED                                         Seychelles

11.   AMELCA INVESTMENTS LIMITED

12.   AMOREUX LIMITED                     SALWICK HOLDING        Cyprus      HE221463
                                              s. AR.L.
13.   ANITAL LLC                                                Delaware      3764432

14.   ARACELA HOLDINGS LIMITED                                   Cyprus

15.   ARANA CONSTRUCTIONS LIMITED                                 BVI         1495434



16.   ARGONEX INVEST CORP                 LLP AGROCENTER-         BVI          511956
                                               ASTANA


17.   ARKRIDGE TELECOM LIMITED               SAN DOWN            Cyprus
                                           HOLDINGS. AR.L.

18.   ARTOUNOA HOLDINGS LIMITED                                  Cyprus

19.   ASINO HOLDINGS LIMITED                                      BVI         1495405




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20.          ASMEL TA INVESTMENTS LIMITED                                                       Cyprus       HE231313



21.          ASPELICA INVESTMENTS LIMITED                                                       Cyprus



22.          ASSET GROUP HOLDINGS LIMITED                                                         BVI         1420763

23.          ASTERATO MANAGEMENT LIMITED

24.          ASTROGOLD CORP.                                                                      BVI         1374174

25.          AUSTIN UNIVERSAL INC.                                                                BVI         1377358

26.          AVASIA HOLDINGS LIMITED

27.          AVGOUSTA HOLDINGS LIMITED
             (FORMERLY MOLYNEUX LTD.)

28.          AVONHILL VENTURES LTD.                                                              BVI          682000

29.          BALGAVENINVESTINC.                                                                  BVI          300853

30.          BARDANE LIMITED                                       SEAHAM HOLDING               Cyprus
                                                                       s.A R.L
31.          BAYMAK SERVICES LIMITED                                                             BVI          1495416



32.          BELINIA HOLDINGS LIMITED                                    [JSC                   Cyprus
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33.          BENFLEET HOLDING SARL                                                            Luxemburg-     8138,496
                                                                                               Kirchberg

34.          BERIT LIMITED                                                                       BVI          1375691



35.          BERMENT VENTURES LTD.                                                               BVI          1058546

36.          BLACKSTEEL EXPERTS CORP                                                             BVI          1376758

37.          BLERACE LIMITED                                                                    Cyprus

38.          BOLOT WORLDWIDE LIMITED                                                             BVI          610502




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39.              BONVEST ADVISORS LIMITED                                                  BVI

40.              BRANDEN & ASSOCIATES LIMITED                        JSC                Seychelles     024595
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41.              BTA INTERNATIONAL GROUP LIMITED                                           BVI        1518591



42.              BUBRECA LIMITED

43.              BUSINESS CODE LIMITED                                                  Seychelles     25953

44.              CALERNEN FINANCE INC.                                                     BVI         300833



45.              CALESHA LIMITED                                                         Cyprus

46.              CARGOMAX MERCHANTS LIMITED                                                BVI        1374188

47.              CELINA HOLDINGS INVESTMENTS
                 LIMITED (FORMERLY BUBRIS
                 INVESTMENTS LIMITED)

48.              COMET MERCHANTS LTO.                                                      BVI         578198



49.              COMWORKLTD                                                                BVI         580838

50.              CONCARDO LIMITED                              SHALFORD                  Cyprus      HE221263
                                                             HOLDINGS. A R. L.

51.             CORBIERE UNIVERSAL LIMITED                                                 BVI



52.             CRESHIA HOLDINGS LIMITED                                                 Cyprus

53.              DANA TRADE CORP.                                                   Seychelles

54.              DELCHELVA HOLDINGS LIMITED                                              Cyprus

55.              DELTONA SERVICES LIMITED                                                  BVI        1495431



56.              DERBENT SERVICES LIMITED                                                  BVI        1495422

57.             DERNECO LIMITED                                                            BVI        1565881



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58.       DORBEA INVESTMENTS LIMITED                                     BVI          1453089



59.       ELANESCA INVESTMENTS LIMITED                                 Cyprus

60.       ELGIN ASSETS & VENTURES LIMITED                                BVI          610503



61.       ELISHA HOLDINGS LIMITED

62.      ELISTA TRADING INTERNATIONAL                                    BVI          1495415
         LIMITED


63.      ERGEN TRADING LTD                                               BVI          1062904

64.      ERGO TRANSIT CORP.                                              BVI          1380623



65.      ESTREA MANAGEMENT LIMITED                                       BVI          1453021



66.      EXTRACORD COMPANY LIMITED                                       BVI          1374177

67.      FAMESCA INVESTMENTS LIMITED                                   Cyprus

68.      FOUNTAIN HILLS TRADING LIMITED                                  BVI          1495411

69.      FROLOVO HOLDINGS LIMITED                                        BVI          1495823



70.      G.R.V. GRECO VENTURES LIMITED             BATHGATE            Cyprus        HE204398
                                                HOLDINGS. A R. L.


71.      GEMINI LIMITED                                              Seychelles

72.      GLOBAL TEAM COMPANY                                         Seychelles       036979

73.      GOLD ARRIS LIMITED                    BALDOCK HOLDING         Cyprus        C221362
                                                   s. A R.L.,
74.      GORAZAR LIMITED                                               Cyprus        HE209166

75.      GREBORE LIMITED                                               Cyprus




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76.          GREPAS SERVICES LIMITED                                               BVI           1494529



77.          GRUNDBERG INC.                                                    Seychelles         27871

78.          HALLMER LIMITED                              BANAVIE HOLDING        Cyprus          221342
                                                              S. A R.L.

79.          HtLBERTON TRADING LTD.                                                BVI

80.          HILLSPAR HOLDING LIMITED                     BANGOR HOLDING         Cyprus      HE221271
                                                            S. A R.L.

81.          IDRIAL LIMITED                               BARDON HOLDING         Cyprus
                                                              s.AR. L.

82.         JACROBI LIMITED                                                        BVI           1540549

83.         JOHNSONINTERTRANSINC.                                                  BVI           682017

84.         JOJOLAND VENTURES LTD                                                Cyprus



85.         JOYTAS HOLDINGS LIMITED                                                BVI           1494520

86.         KAPSY LIMITED                                                          BVI           1494232

87.         KENTAVIR LIMITED                             BARNHILL HOLDING        Cyprus      HE221289
                                                             S. A R.L.


88.         KINMATE TRADING LIMITED                                            Seychelles

89.         KLOSTRADE FINANCIAL GROUP LTD.

90.         KSC INTERNATIONAL CORP.                                            Seychelles

91.         KUTUZOV WORLDWIDE                                                     BVI            610814
            ENTERPRISES LIMITED


92.         LALLARTE LTD

93.         LALLARTE PROPERTIES LIMITED                                          Cyprus

94.         LAPLOUS GROUP LTD.                           "OMCK-nOnV1MEP" -        BVI            660218
                                                           OMSK-POLYMER

95.         LAQUIAN LIMITED                                  BEMPTON             Cyprus
                                                          HOLDING S. A R.L.


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    96.         LATRECIA INVESTMENTS LIMITED                                Cyprus

    97.         LEARNA HOLDINGS LIMITED                                     Cyprus       HE 22136

    98.         LEONCA HOLDINGS LIMITED                                     Cyprus



    99.         LERCINA HOLDING LTD

    100.        LERCINA HOLDINGS LIMITED

    101.       LERNICE INVESTMENTS LIMITED                                  Cyprus

    102.       LINGARD INDUSTRY LIMITED                                      BVI         [1 051505]

    103.       LINKWOOD LIMITED                                           Seychelles

    104.       LOREMAIN LIMITED                      BERWICH HOLDING        Cyprus      HE204395
                                                         s.A R.L.

    105.       M.T.H. MARITIME HOLDINGS LIMITED         BILLBROOK           Cyprus
                                                      HOLDING S.A R.L.

    106.       MABCO INC.                                                    BVI          492132

    107.       MALABAR INVESTMENTS GROUP                                     BVI         1495414
               LIMITED

    108.       MALAKIY RESOURCES LIMITED                                     BVI         1528963

    109.       MARCENICA INVESTMENTS LIMITED                                Cyprus



    110.       MARCIANA INVESTMENTS LIMITED                                 Cyprus

    111.       MASOUR HOLDINGS LIMITED                                       BVI         1494229

    112.       MELINDRA HOLDINGS LIMITED                                    Cyprus      HE235065

    113.       MER INVESTMENTS LIMITED                                       BVI         1472376

    114.       MERCIELO LIMITED                                             Cyprus

    115.       MINTEX TRADING LTD.                                           BVI

    116.       MISHIA INVESTMENTS LIMITED                                    BVI         1474162

    117.       MORANTA INVEST (CYPRUS) LIMITED                              Cyprus        177050



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118.    MORTECIA INVESTMENTS LIMITED                              Cyprus



119.    MYMANA INVESTMENT HOLDINGS
        LIMITED (FORMERLY KYMA
        INVESTMENT HOLDINGS LIMITED)

120.    NAFAZKO INVESTMENTS LIMITED                                 BVI

121.    NARABAK HOLDINGS LIMITED                                    BVI                             1474174

122.    NETGOLD SERVICES LTD

123.    NOSTRAS LIMITED                       BILLINGHAM
                                            HOLDINGS. AR.L.

124.    NUERTO LIMITED

125.    OLOFU INVESTMENT HOLDINGS
        LIMITED

126.    000 STROIINVEST-KAZAN                                     Russia                           1071690047
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127.           000 STROI-RESOURCE                                 Russia

128.            000 INVESTPROEKT                                  Russia                           1065260110
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129.    000 ATLANT-T                                              Russia                           1087154007
                                                                                                      203

130.         [000] REGION-INVEST LLC                              Russia                           1080278009
                                                                                                      261

131.    [000] INVEST DEVELOPMENT LLC                              Russia                           1087746609
                                                                                                      840

132.    OPIS INVESTMENTS LIMITED                                    BVI                             1474166

133.    PADOGE LIMITED

134.    PASU INVESTMENTS LIMITED                                    BVI                             1494521

135.    PERFETA LIMITED

136.    PKM INVEST LIMITED




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       ·•·· Colllpany name                  Subsidiaries           · Jurisdiction        Reg. n&
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137.     PLARUM LIMITED                        BARLASTON
                                             HOLDINGS. A R.L.

138.     PORFITTO TRADING LIMITED           BARMING HOLDING
                                                S. A R.L.

139.     PRESTONA HOLDINGS LIMITED                                           BVI                  1472753

140.     PREVIA LIMITED                                                    Cyprus

141.     PROLIFERONE LIMITED                   BROCKLEY                    Cyprus            HE 223867
                                             HOLDINGS. A R.L.

142.     QUASONT LIMITED                     BEXLEY HOLDING                Cyprus                 201456
                                                 s. A R.L.

                                                      BIZNESELIT

143.     REBLANCA HOLDINGS LIMITED                                         Cyprus

144.     REME INVESTMENTS LIMITED                                            BVI                  1494523

145.     RETRICA HOLDINGS LIMITED                                          Cyprus



146.     REUEL LIMITED                                                       BVI                  1494227

147.     RIHANCA HOLDINGS LIMITED                                          Cyprus

148.     ROCKLANE PROPERTIES LIMITED                                         BVI                  454885

149.     ROSPOZANT LIMITED                     BLACKBURN                   Cyprus                 204378
                                             HOLDING S. A R.L.

150.     RUBYWAY LIMITED                                                  Seychelles

151.     S.L. SCHOOLDESK LICENSING          BUCKLEY HOLDING                Cyprus
         LIMITED                              s. A R.L.
152.    SAMAL PROPERTIES LIMITED                                      Kazakhstan             38888318
        LIABILITY PARTNERSHIP

153.    SAMERA HOLDINGS LIMITED                BRUNDALL                    Cyprus            HE 221374
                                             HOLDINGS. A R.L.

154.    SANBRETA INVESTMENTS LIMITED                                       Cyprus            HE 237114




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155.      SANTE TRADING LIMITED                                               BVI              1495417
          [SANTE TRADING GROUP LIMITED]

156.      SEERIA ALLIANCE LTD.                                                BVI              507352



157.      SHORELINE INVESTMENT HOLDINGS                                       BVI              1453140
          LIMITED (FORMERLY GRANTA
          INVESTMENT HOLDINGS LIMITED)

158.      SIMONIE HOLDINGS LIMITED              BELL GROVE                  Cyprus             221278
                                              HOLDINGS. A R.L.

159.      SOMERSET PROJECTS INC.                                              BVI              1045876

160.      STRASECA HOLDINGS LIMITED                                         Cyprus

161.      SUNSTONE VENTURES LTD.                                              BVI              584478

162.      SURMAKA SERVICES LIMITED                                          Cyprus

163.      SVELGATE ALLIANCE CORP.                                             BVI

164.      TACTICA ENTERPRISES LTD.                                           BVI               682002

165.      TAHOKA LIMITED                     BULWELL HOLDING                Cyprus
                                                 s. A R.L.
166.      TARANSKI LIMITED                      BRAN HALL                   Cyprus
                                              HOLDINGS. A R.L.

167.      TELFORD FINANCIERS CORP.                                           BVI               1374186

168.      TICKER SERVICES AND CONSULTING                                     BVI               1494530
          LIMITED

169.

170.      TOPGEO HOLDINGS LIMITED                                            BVI               175798

171.      TRADESTOCK INC.                                                  Panama

172.      TRAMLANES INVESTMENTS LIMITED                                      BVI               1374191
          (FORMERLY BERGTRANS
          CONTRACTS CORP)

173.      TRASNATIONAL ASSETS LIMITED




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174.    TRASNATIONAL CAPITAL AND                                                                BVI           610501
        INVESTMENTS LIMITED

175.    TRIONFALE LIMITED                                                                     Cyprus          183346

176.    TSENTR-INVEST LIMITED LIABILITY
        COMPANY

177.    UNITED CLEARING & PROCESSING                                                            BVI          1062737
        COMPANY LTD.

178.   VALEFORD CONSORTIUM CORP.                                EXCELLENT GLIDE                 BVI           682014

179.   VANESCA HOLDINGS LIMITED                                                                 BVI

180.   VANESCA INVESTMENTS LIMITED                                                            Cyprus

181.   VARKIZA INVESTMENTS LIMITED                                                              BVI          1474168

182.   VIANDEN LIMITED                                                                        Cyprus        HE201422

183.   VOREDA INVESTMENTS LIMITED                                                               BVI          1472752

184.   VULIER INVESTMENTS LIMITED                                                               BVI          1474163

185.   WESTRADE LTD.                                                                            BVI           53136

186.   WIDLEY WORLDWIDE INC.                                                                    BVI           610505

187.   WOODBRIDGE GROUP LTD.                                                                    BVI           569250

188.   WORLDWIDE CITY INVESTMENTS                                                               BVI           610506
       LIMITED

189.   YORK RESOURCES CAPITAL CORP.                                                             BVI           682013



190.   YUMA HOLDINGS LIMITED                                                                    BVI          1495418

191.   ZAFFERANT PARTNERS INC.                                                                  BVI          1044166



192.   ZALOU INVESTMENTS LIMITED                                                                BVI          1474161

193.   ZANGYLA HOLDINGS LIMITED                                                               Cyprus

194.   ZATHEN HOLDING INVESTMENTS                                                               BVI           601702
       LIMITED (FORMERLY CARSONWAY
       LIMITED)


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195.        ZED CANADY LIMITED

196.        ZEPHYRANTH LIMITED

197.          AFRICAN SKY TRADING LIMITED                              Cyprus

198.            ALEXAR TRADING LIMITED                                    BVI                 1064299

199.          BATITRAV RESOURCES LIMITED                               Cyprus                 193524

200.            BILLION TRADER LTD

201.         DAYEN ENVIRONMENTAL LIMITED

202.                DEVESTA LIMITED                                       BVI                 1065560

203.                HUDSONA LIMITED                                    Cyprus

204.               I.R.E.LAND LIMITED                                  Cyprus

205.              KEPPEL LAND LIMITED                                  Cyprus

206.                 RIMOS LIMITED                                   Seychelles               030747

207.           MOLDINA INVESTMENTS LTD                                 Cyprus                 C171998

208.         STARWOOD CONTRACTS LIMITED                              Seychelles               029790

209.                TARIONO LIMITED                                    Cyprus            HE153123

210.           URBAS INDUSTRIAL LIMITED                                Cyprus                 194828

211.                VANBAS LIMITED                                       BVI                  1064295

212.          WINTERRA HOLDINGS LIMITED




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 ······.·.         Gom~any Name                                  Registration No •. Subsidiaries
                                                                              ·' < I ; ·.
                   Acalan Holdings Limited       Cyprus                                         Bluecenter Holdings
2.
                   Adamaris Investments Ltd      Cyprus
3.
                   Adarma Holdings Limited       Cyprus          273978
4.
                   Addes International Limited
5.
                   Adventex Trading Limited      BVI             1494656
6.
                   Agrippa Trading Limited       BVI             1622121
7.
                   Aharon Incorporated           Seychelles      081241
8.
                   AIST LLC                      Russia          0127739396024
9.
                   Alfa Consultancy Limited      Seychelles      079481
10.
                   Alterson Limited                              027874
11.
                   Amirar Limited                Cyprus          172083
12.
                   AMT Services Limited          BVI             1537759
13.                Angeland Investments
                   Limited                       BVI             1401999
14.
                   Anibell Trading Limited       BVI             1524142
15.
               Antlia Carp                       BVI             1385816
16.
               Anzion Holdings Limited           BVI             1532863
17.
               Apa Services Limited              BVI             1621339
18.
               Archeston Solutions lnc           BVI             1045432                        Business-Engineering
19.
               Ardrock Holdings Limited          Cyprus
20.
               Armotage Trading Limited          Cyprus
21.
               Artvision Limited
22.
               Aruma Holdings Limited
23.
               Asenet Services Limited           BVI
24.
               Aurland Production lnc            BVI             1067872
25.
               Avredinar Holdings Limited        Kazakhstan
26.
               Bainsder Investments Limited


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' 27.
          Balaock Holding S.a.r.l.       Luxembourg    138147
 28.
          Balladfield Holdings Limited   Cyprus
 29.      Balladplace Enterprises
          Limited                        Cyprus
 30.
          Balladream Holdings Limited    Cyprus
 31.      Balladroad Enterprises
          Limited
 32.
          Baltinvest LLC                 Russia        1083925030595
 33.
         Baltyk Idea Limited
 34.
         Banavie Holding S.a.r.l.        Luxembourg    138297
 35.
         Bangor Holding S.a.r.l          Luxembourg    138296
 36.
         Bardon Holding S.a.r.l.         Luxembourg    138148
'37.
         Barlaston Holding S.a.r.l.      Luxembourg    138150
 38.
         Barming Holding S.a.r.l.        Luxembourg    138243
 39.
         Barnhill Holding S.a.r.l.       Luxembourg
 40.
         Baruch & Co Limited             Seychelles
 41.
         Bathgate Holding S.a.r.l.       Luxembourg    138146
 42.
         Beenap Limited                  BVI           1049720
 43.
         Belgrave Logistics Limited      Seychelles    028509
 44.
         Bellgrove Holding S.a.r.l       Luxembourg
 45.
         Beltas Development Carp         BVI           1069733
 46.
         Beltor Ltd                      Seychelles    027292          Moranta Invest (Cyprus)
47.
         Bemet Investments Limited
48.
         Bempton Holding S.a.r.l.        Luxembourg
49.
         Bensbourogh Trading lnc         BVI           1468356
 50.
         Berger International Limited    Seychelles    027001
 51.
         Berniling Investments Limited   Cyprus
52.
         Berwich Holding S.a.r.l.        Luxembourg    138344
53.
         Bestcatch Trading Limited       Cyprus
54.
         Bestshot Services Limited       Cyprus

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     55.
             Bexley Holding S.a.r.l.          Luxembourg            138290
     56.
             Biancini United S.A.             BVI                   1532375
     57.
             Billbrook Holding S.a.r.l.       Luxembourg            138343
     58.
             Billingham Holding S.a.r.l.      Luxembourg
     59.
             Bion Services Limited            BVI                   1622096
     60.
             Blackburn Holding S.a.r.l.       Luxembourg            8138293
     61.
            Bluecenter Holdings Limited       BVI                   1522557
     62.    Bluestate Investments
            Limited                           BVI                   1494647
     63.
            Bogara Tech Limited
     64.
r·
            Bondiza Consulting Limited        BVI                   1049725
     65.
            Bondmore Holdings Limited
     66.
            Bondrain Holdings Limited         Cyprus
     67.
            Bondyear Enterprises Limited
     68.
            Bramilt Enterprises Limited      Cyprus
     69.
            Branhall Holding S.a.r.l.        Luxembourg
     70.
            Brighton Corp.                   Seychelles            27875
     71.
            Britar Holdings Ltd              BVI                   1524113
     72.
            Broadlife Trading Limited
     73.
            Brockley Holding S.a.r.l.        Luxembourg            138253
     74.
            Brundall Holding S.a.r.l.        Luxembourg            138281
     75.
            Buckley Holding S.a.r.l.         Luxembourg
     76.
            Bular Trading Limited            BVI                   300852
     77.
            Bulwell Holding S.a.r.l.         Luxembourg
     78.
            Business Engineering LLC         Russia                5067746967492
     79.
            Business Expert LLC              Russia                009105499
     80.
            Cabcharge Limited
     81.
            Caprio LLC/Kaprio LLC            Russia                1077758540067
     82.
            Carlower Enterprises Limited     Cyprus

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83.
        Carsonway Limited               BVI           601702
84.
        Caspineft Holdings B.V.
85.
        Center-lnvest                   Russia        1087746826804
86.
       Gentile Resources lnc            BVI           1062916
87.
       Cerebos Limited
88.    CF & Morgan Russia Equity
       Fund, LP                         Russia                        Russian GS
89.
       Chapelhill Enterprises Limited   Cyprus
90.    Chapelroad Enterprises
       Limited                          Cyprus
91.
       Chefa Limited                    Cyprus
92.
       Chesterland Invest Carp          BVI           1045430
93.
       Chrysopa Holding B.V.            Netherlands   27222830
94.
       City Ventures limited            Seychelles    025955
95.
       Colberg Division Limited         Cyprus        181252
96.
       Colex Trading Limited            Seychelles    27187
97.
       Company Support Limited
98.
       Cona Trading Limited             BVI           1524143
99.
       Constance Services Limited       BVI           1562723
100.
       Core Network Limited             Seychelles    079482
101.
       Cornerways Services Limited
102.
       Crondale Finance Limited         Seychelles
103.
     Cranberry Overseas Limited         Cyprus
104. Crossaction Enterprises
     Limited                            Cyprus        220226
105.
       Cyten Trading lnc                BVI           1058557
106.
       Danionics Enterprises Limited
107.
       Darfield Limited                 BVI           251302
108.
       Denacom Limited                  Cyprus
109. Denmar Assets Management
       lnc                              BVI           1069586



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  110.
                           Develcan Ventures lnc              BVI               1042062                   Stockstair Holdings Ltd
 111.
                          Dinfield lnc                                                                    Grosburg lnc
 112.
                          Donlant Ventures lnc               BVI                1044187
 113.
                          Doren Trading Limited              BVI                1375696
 114.
                          Dowring & Associates lnc           BVI                1058558
 115.
                          Dreamlife Holdings Ltd             BVI                1462349
 116.
                          Oregon Land Ltd                    Cyprus             176394
 117.
                          Drofal Holding Limited             BVI                1049729
 118.
                          Easy Concept Processing Ltd        BVI                1462346
 119.
                          Edmisonon Holdings Limited         Cyprus             183260
 120.
                          Eclarius Limited                   Cyprus
121.
                          Eldoro Holdings Limited            Cyprus
122.
                          Elias Import/Export Limited        BVI                1045427
123.
                          Elsinore Consultants Limited       Cyprus             214829
124.
                          Emesin Trading Limited             Cyprus             178449
125.
                          Emsort Holdings Limited            Cyprus
126.
                          Engelor Trading Limited
127.
                          Enverolt Marketing Limited         BVI                1041139
128.
                          Equipe Holdings Limited            BVI                1041185
129.
                          Ernalco Investments Limited        Cyprus
130.
                          Escantre Holdings Limited
131.
                          Estar Developments Limited         BVI                1049271
132.
                          Euroguard Assets Limited           Cyprus             157940
133.
                         Europtronic Limited                 Seychelles         027188
134.
                          Facebook Trading Limited           Cyprus
135.
                         Famelink Investments Limited        Cyprus             220859
136.
                         Famille Solutions Limited           BVI                1562730
137.
                         Fanal Holdings Limited              Cyprus

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138.
       Farcape Services Limited          BVI              1524082
139.
       Farpost Holdings Ltd              BVI              1524144
140. Fastservice Consultants
       Limited                           BVI              1494649
141.
       Fedelm Corp                       BVI              1376422
142.
       Fenella Service Limited
143.
       Fernwood Resources Limited        Seychelles       029775
144.
       Fers Limited                      Cyprus           178489               Holder Dom LLC
145.
       Feston Limited                    Seychelles       027872
146.
       Fieldport Networks Corp           Seychelles
147.
       Fitcherly Holdings Limited        BVI              1584171
148.
       Flairis Technology Limited        Cyprus           176452
149.
       Fletcher Investors Corp           BVI              1045424
150.
       Flightplan Services Limited       Cyprus
151.
       Flyajet Investments Limited       BVI              1524141
152.
       FM - Company Limited              Marshal! Is
153.
       Fora Corporation
154. Forestcrystal Holdings
       Limited                           Cyprus
155.
       Foresthouse Holdings Limited      Cyprus
156.
       Forlani Investments Ltd           Cyprus
157.
       Formiga Limited
158.
       Francis Alliance Limited          BVI              1045423
159.
       Francont Trading Limited
160. Freshway Financial
       Consulting Limited                BVI              1044167
161.
       Frontline Technology Limited     Seychelles
162.
       Fugishia Trading Limited         BVI               1519025
163.
       Galanz Productions Limited        BVI              1041143
164.
       Gambac Limited                   BVI              666463



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165.
       Gamematch Payment Ltd          BVI           1462354
166.
       Gasten Group Limited           BVI           1070393
167.
       Gatova Holdings Limited        Cyprus
168.
       Gemnet Services Limited        BVI           1519027
169.
       Gemwave Systems Limited
170.
       Genemedix Enterprises Ltd
171.
       Gestel Marketing lnc           BVI           1063845
172.
       Giftrock Trading Limited       Cyprus
173. Global King Enterprises
       Limited
174.
       Globetrade Management Ltd      BVI           1462202
175.
       Goldboat Investments Limited   BVI
176.
       Goldenstage Trading Limited    Cyprus
177.
       Graceway Commerce Limited                    181354
178.
       Greenbridge Services Limited   BVI           1540522
179.
       Grosburg Limited               Cyprus        181247    LLC Stroyinvest MSC
180.
       Gurtall Management Limited     BVI           1540510
181.
       Harnfield Resources Limited    BVI           1063847
182.
       Heavenview Investments Ltd     BVI           1462238
183.
       Heklon Management Ltd          BVI           300828
184.
       Highbond Associates Ltd        Seychelles    028969
185.
       Highview Limited               BVI           102630
186. Hillrose Developments
       Limited                        Seychelles
187.
       Hilton Consulting Limited      BVI           1070782
188.
       Honeynet Trading Limited       BVI           1494645
189. Humaninvest International
       Limited                        BVI           1462234
190.
       lamgold Corporation Limited
191.
       lmex Management lnc            BVI           1071477



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192.
       lnkaville Holdings Limited      BVI           1532830
193. Intellectual Creative Solutions
       Ltd                             BVI           1009715
194. lvoryTower Consultants
       Limited                         Cyprus
195.
       Jacks International Limited
196.
       Jet Fame Industries Limited     Seychelles
197.
       Jifkor Holdings Limited         BVI           1049731
198.
       Jollafield Holdings Limited     Cyprus
199. Jollastreet Enterprises
       Limited                         Cyprus        185640
200. Jollatower Enterprises
       Limited
201. Jollawood Trading &
       Investments Ltd                 Cyprus        184905
202.
       Kailani Limited                 BVI           1396985
203.
       Kalliyan Investments Limited                  1484566
204.
       Karola Holdings Limited         BVI           1524127
205.
       Kells Services Limited          BVI           1540631
206.
       Keywave International Ltd       BVI           1462222
207.
       Kimoce Limited
208.
       Kinslev Productions Ltd         Seychelles
209. Koasiatrata Investments
       Limited
210.
       Lafe Technology Limited         Seychelles    27002
211.
       Lake Resources Limited          Seychelles
212.
       Langit Consulting Limited       BVI           1396993
213.
       Lankom Limited                  Seychelles
214.
       Lavec Estates Limited           Cyprus
215.
       Lebrica Holdings Limited        Cyprus
216.
       Lende Trading Corp              Marshallls
217.
       Levelbest Trading Limited       Cyprus
218.
       Lexman lnc                      Seychelles    027870    Colberg Division



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   219.
                              Lifetone Services Limtied                       Cyprus               218027
   220.
                              Liftmann Limited LLC                            Cyprus               197893
   221.
                              Lightland Consultants Limited                   BVI                  1420951
  222.
                              Lion Asiapac Limited
  223.
                              Lionhead Trading Limited                        BVI                  1494648
  224.
                              Loginet Services Limited                        BVI                  1522548                     Eldoro Holdings
  225.
      Logopark Kolpino CJSC                                                   Russia
 226. Logopark Mezhdureche
      CJSC                                                                    Russia
 227.
      Logopark Pyshma LLC
 228.
      Lomtel Limited                                                          BVI                  682683
 229.
      Lotaro Trading Limited                                                  Cyprus
 230.
      Lyriten Production lnc                                                  BVI                  1062905
 231.
      Ma den Holding lnc                                                      BVI                  1064833
 232.
      Maintop Trading Limited                                                 Cyprus               217353
 233.
      Marinor Limited                                                         Cyrpus
 234.
      Matheca Holdings Limited                                                Cyprus
 235.
      Maximus Resources Limited                                               BVI                  644290
 236. Max-well Medical Centers
      LLC                                                                     Ukraine              35643562
 237.

 238.                                                                         Marshal!
                             Mega Property Limited                            Islands                                          Mount Properties
 239.
                             Melchia Trading Limited
240.
                             Mergilot Trading Limited                         Cyprus
 241.
                             Microview Trading Limited                        Cyprus               218651
242.
                             Migina Limited                                   BVI                  1396992
 243.
                             Millenium Support Group                          Seychelles
244.
                             Minik Limited
245.
                             Misatone Limited



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      246.
             Mitchell Technologies lnc               BVI                1045871
      247.
             Mosdel Finance Limited                  BVI                535012
      248.
             Motzo Holdings Limited                  BVI                1507648
      249.
             Mount Properties Limited                BVI                337597
      250.
             Nalden Industries lnc
      251.
             Neshani Investments Limited             Cyprus             204400
      252.
           Newform Company Ltd                      Seychelles
      253. Newhomeland Investments
           Ltd                                      BVI                 1462874
  254.
             Nextrata Investments Limited           Cyprus
  255.
             Nicedeal Investments Limited           BVI                 1524056
  256.
             Nipremena Holdings Limited             Cyprus              186409
  257.
             Nitnelav Holdings Limited              Cyprus
  258.
             Normen Overseas Ltd                    Cyprus              146521
  259.
             Nupto Limited                          Russia              1049721
  260.
             Oldroad International Ltd              BVI                 1392377
  261.
             Orwell lmporUExport Limited            BVI                 1045872
  262.
             Ostel Holdings Limited                 BVI                 1614863
  263.
             Paller Products Limited
  264.
             Palmgate Enterprises Limited           Cyprus              184874
  265.
             Pancontinentallnc                      Belize
 266.
             Parakmi Logistics Limited              Cyprus
 267.
      Pekan Trading Ltd                             BVI                 1500339
 268. Perperera Investments
      Limited
 269. Perspective Communications
      lnc                                           BVI                 1009714
 270.
             Philadelphia Tradecorp lnc             BVI                 1045873
 271.
             Pilotlight Holdings Limited            Cyprus             220874
 272.
             Placefield Holdings Limited            Cyprus              184898



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                                                                                                               > :.
273. Placehouse Enterprises
                   Limited                          Cyprus          184892
274. Planetzone Investments
                   Limited                          BVI             1494630
275.
                   Platform Trustees Limited        Cyprus          77910
276.
                   Potbel Holdings Ltd              Cyprus
277.
                   Potiza Holdings Limited
278.
                   Power Factor Trading Limited
279. Powerboat Investments
                   Limited                          BVI             1522546              Giftrock Trading
280.
                   Primesupport Holdings Ltd        Cyprus
281.
                   Prockshere Limited               Seychelles
282.
                   Progen Limited                   BVI             544629
283.
                   ProjectLand Investments Ltd      Cyprus
284.
                  Promwel Holdings Limited
285.
                  Prosperous Century lnc            BVI             1009694
286. Quickselect Investments
                  Limited                           BVI             1494632
287.
                  Quinn Services Limited            BVI             1554073
288.
                  Ratin Investment Limited          BVI             527985
289.
                  Rayfield Productions Corp         BVI             1044183
290.
                  Reclif Developments Limited
291.
                  Refgen Technologies lnc           BVI             660231
292.
                  Regal View Trading Limited        Cyprus          204492
293.
                  Reigen Technologies Limited
294.
                  Reklod Limited                    BVI             1069727
295.
                  Ringfors Enterprises Limited      Cyprus
296.
                  Roadnext Holdings Limited
297.
                  Rochester Invest Corporation      BVI             1045874
298. Rockgarden Enterprises
                  Limited                           BVI             1522547
299.
                  Romelo Holdings Limited           BVI             1524125



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300. Rospanico Investments
     Limited                                                      Samuel Finance
301.
     Rovert Import/Export Limited   BVI           1069657
302.
     Royford lnc                    BVI
303.
     Rushotel LLC                   Russia        5077746954160
304.
     Rusotels Limited               BVI           1407339         Liftman Limited
305.
     Russian GS Limited             Russia
306.
     Salwick Holding S.a.r.l.       Luxembourg
307.
     Samuel Finance S.a.r.l.        Luxembourg    108566
308.
     Sandown Holding S.a.r.l.       Luxembourg
309.
     Sarova Holdings Limited        BVI           1524130
310.
     Seaham Holding S.a.r.l.        Luxembourg    138141
311.
     Secretcorner Trading Limited   BVI           1462350
312.
     SeiiBrook Company Corp         Seychelles
313.



314.
     Shalford Holding S.a.r.l.      Luxembourg
315. SIG Assets Management
     Limited                        Seychelles    012024
316.
     Silverall Holdings Ltd         Cyprus
317.
     Silverghost Trading Limited    Cyprus        220949
318.
     Silworld Holdings Limited      Cyprus
319.
     Skywatch Services Ltd          BVI           1523632
320. Smarthead Investments
     Limited                        BVI           1494629
321.
     Smartinvest Services Limited   BVI
322.
     Smileworld Investments Ltd     BVI           1494644
323.
     Sovstar 1 (C~prus) Limited     Cyprus        153130
324.
     Spacenet Services Limited      BVI           1522549
325.
     Specialrace Trading Ltd        Cyprus
326.
     Spiritbase Services Limited    Cyprus

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                                                                                                                  :.;;\
 327.
         Sprenwood Holdings Limited              BVI                 1605749
 328.
         Stanton Universal Limited               BVI                 547197
 329.
      Star-Atlantic Holding lnc                  BVI                 1045877
 330. Statedown Enterprises
      Limited                                    Cyprus              184903
 331. Statetower Enterprises
      Limited                                    Cyprus              184996
 332.
         Steiman Corp
 333.
         STL Company LLC                         Russia
 334.
        Stockstair Holdings Limited              Cyprus              198005                   AIST LLC
 335.
        Storin Limited                           BVI                 544628
 336.
        Striks Investments Limited
 337.
        Stroylnvest Kazan LLC                    Russia              1071690047164
338.
        Stylewest Holdings Limited               Cyprus
339.
        Subona Trading Limited                   Cyprus
340.
        Subtower Trading Limited                 Cyprus
341.
        Sunwell Distributers lnc                 BVI                 1066692
342.
     Superleague Services Limited                Cyprus
343. Suprisimo Investments
     Limited
344.
        Svanlake Holding Limited                 Cyprus              190960
345.
        Swainriver Holdings Limited              Cyprus
346.
        Sylvan Assets lnc                        BVI                 1562721
347.
        Tableros Holdings Limited                Cyprus
348.
        Tanna Holding S.a.r.l.                   Luxembourg          131216
349.
        Techlink Consulting Ltd                  BVI                 1044178
350. Top Quality Consulting
        Limited                                  BVI                 1009713
351.
        Topwide Trading limited                  Cyprus              246499
352.
        Topworld Services Limited                BVI                 1420842
353.
        Torland Production lnc                   BVI                 1062907



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           l·'f: ;;::::"5sF ':'     ··"' < .i.'' :·;; . ,.,,·;:'1~1     U!           ••          }::     ;,    •.   ,,   .   •   .> ,,   .i ·   ·.·   ,,. • • •   .....
    354.
               Toros Limited                                          Seychelles          030746
    355.
               Tortuga Limited                                        Seychelles
    356.
               Tossima Limited                                        BVI                 1064289
    357. Trademarket International
               Limited                                                BVI                 1462348
    358.
         Trainor Alley Corporation                                    Seychelles
    359. Trasemino Investments
         Limited                                                      Cyprus
    360.
               Trefor Limited                                         BVI                 1420482
    361.
               Trombest Holdings Limited                              BVI
    362.
               Ungromado Limited                                      Cyprus
    363.

    364.
               Uniflex Global Limited
    365.
               Unishare Trading Limited
    366.
               Urie Services Limited                                  BVI                 1540532
    367.
               Vaida Trading Limited                                  BVI                 1607475
    368.
               Velocita Holding B.V.                                  Holland
    369.
               Venizon Holdings Limited                               BVI                 1524060
    370.
               Venta LLC                                              Russia              1107746544454
    371.
               Vern Trading Corporation                               Seychelles          029805
    372.
               Vernex lnc                                             Seychelles
373.
               Vetro Limited                                          BVI                 1065558
    374.
               Viascal Holdings Limited                               Cyprus
375.
               Victan Limited                                         BVI                 1064296
    376. Victoryland Investments
               Limited                                                Cyprus              246238
377.

    378.
               Vinsaw Investments Limited                             BVI                 1049727
379.
               Webcare Marketing Limited                              Cyprus
380.
               Wenus Products Limited                                 Seychelles          028982


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       Whipland Investments
       Limited                          BVI        1420874
382.
       White Avenue Limited             BVI        1562125
383.
       w      Services Limited          BVI        1522550
384.
       Xtrainvest Investments limited              206428
385.
       Yorkline
386.
       Zaforim Investments Limited
387.
       Zaidies Limited
388.
       Zard              Limited
389.
       Zlatano Limited
390.
       Zociac Ente   rises Limited      BVI        1462239




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                                     SCHEDULED



      Company Name                           Jurisdiction   Registration number

      Airwood Corporation Limited

2.    Algoway Investments Limited
                                             Cyprus
3.    Arfikona Limited
                                             Seychelles     021188
4.    Devonton Investments Limited
                                             Cyprus         183691
5.    Dinamic Tide Trading

6.    Eurasia Logistics Limited
                                             Jersey         98767
7.    Govery Trading Limited

8.    Haphaestion Holdings Limited
                                             Cyprus
9.    Harmony Technology Limited

10.   Heritam Management Limited
                                             BVI            1070778
11.   lnnovalues Precision Limited

12.   lrwood Commercial Limited
                                             BVI            570048
13.   Linuxo Properties Limited

14.   Mignola Services S.A.
                                             Seychelles
15.   Notula Trading Limited
                                             Cyprus
16.   Roskon Limited
                                             BVI            1379210
17.   Seaworld Processing Limited
                                             BVI            1420851
18.   Solmar Technologies Corp.
                                             BVI            1044181
19.   Vetta (UK) LLP
                                             UK             OC314091
20.   Warren Worldwide LLC
                                             Seychelles
21.   Whitestorm Holdings Limited
                                             BVI            1420837
22.   Asa Trading Limited

23.   Aston Color Limited
                                             BVI            1064298
24.   Azure Way Limited
                                             Seychelles
25.   Casalake Trading Limited
                                             Cyprus
26.   Cryosphere Limited


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27.
28.
29.   Erawanco Limited

30.   Holder Dam LLC I 000 Kholder Dam
                                              Russia        1067746721591
31.   Konami Corporation Limited
                                              Seychelles    26999
32.   Palmridge Holdings Limited
                                              Cyprus        184906
33.   Salvepar Resources Limited

34.   Smartwhere Limited
                                              BVI           1517915
35.   Tunnelsink Holdings Limited
                                              BVI           1517905




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                                 SCHEDULE E

                     (Assets disclosed by the Respondent)

       (1)   The Respondent's interest in AMT Bank LLC, and the following
             companies through which it is held:
             Venezzia Trading Limited (BVI)
             Omada Trading Limited (BVI)
             Squarecut Trading Ltd (BVI)
             AHA Management lnc (Commonwealth of Dominica)
             Crosbie Tech Limited (BVI)
             Daniels Tradecorp lnc (BVI)
             Drey Associates Limited (United Kingdom)
             lnterfunding Facilities Limited (United Kingdom)
             Powermatic Data Limited (Seychelles)
             Solent Management Limited (BVI)
             Delta Torg LLC (Russia)
             Rikas Finance LLC (Russia)
             TuranAiem Capital LLC (Russia)
             PSK Finance AMK Invest LLC (Russia)

       (2)   The Respondent's interest in BTA Ukraine, and the following companies
             through which it is held:
             Randers Company lnc (BVI)
             Lakeland Commercial Ltd (BVI)
             Sundycoast Processing Ltd (BVI)
             Venezzia Trading Limited (BVI)
             Goldfine Import Limited (BV1)
             Squarecut Trading Limited (BVI)
             Drobo Trade Ltd (BVI)
             Impulse Capital Carp (Seychelles)
             Stantis Ltd (Cyprus)
             Crosbie Tech Limited (BVI)
             lnterfunding FaCilities Limited (United Kingdom)
             Pointview Services Limited (BVI)
             Steffler Globallnc (BVI)
             ZRL Beteiligungs AG (Austria)
             Absolut Investment LLP (Ukraine)
             Afina Trade LLP (Ukraine)
             DP MP Invest (Ukraine)
             DP Jupiter Trade (Ukraine)
             Drobo Trade Investments LLP (Ukraine)
             Goldfine Import Investments LLP (Ukraine)
             Impulse Capital Investments LLP (Ukraine)
             IPG Eurasia Ukraine LLC (Ukraine)
             Lakeland Investments LLP (Ukraine)




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       (3)   The Respondent's interest in BT A Georgia, and the following
             companies through which it is held:
             Venezzia Trading Limited
             Sundycoast Processing Ltd (BVI}
             Crosbie Tech Limited (BVI)
             lnterfunding Facilities Limited (United Kingdom)
             Pointview Services Limited (BVI)
             ZRL Beteiligungs AG (Austria)

       (4)   The Respondent's interest in BTA Armenia, and the following
             companies through which it is held:
             Sundycoast Processing Ltd (BVI)
             AHA Management lnc (Commonwealth of Dominica)
             Pointview Services Limited (BVI)
             Squarecut Trading Limited (BVI)
             ZRL Beteiligungs AG (Austria)
             PSK Finance AMK Invest LLC (Russia)

       (5)   The Respondent's 25% shareholding in Temirbank

       (6)   The Respondent's interest in BTA Kazakhstan, and the following
             companies through which it is held:
             AST Holdings Ltd (BVI)
             Vartexo Trading Ltd (Cyprus)
             Revil Securities SA (Panama)
             Crosbie Tech (BVI)
             Venezzia Trading Limited (BVI)
             KT Asia Investment Group BV (Holland}
             KSC International Ltd (BVI)
             Omada Trading Ltd (BVI)
             Sundycoast Processing Ltd (BVI)
             Biofusion Limited (BVI)
             Boscobellnternational Corp (BVI)
             Delaware Capitallnc (BVI)
             Drey Associates Limited (United Kingdom)
             Eurobusiness Group lnc (Panama)
             GEM Equity Management Holding AG (Austria)
             Gemestra Limited (BVI)
             lnterfunding Facilities Limited (United Kingdom)
             KT Asia Investment Group C.V (Netherlands)
             Lucky Kingdom Investments (Seychelles)
             Merenko Limited (Cyprus)
             Pointview Services Limited (BVI)
             Powermatic Data Limited (Seychelles)
             Strident Energy Limited (United Kingdom)
             Tollo Holding Limited (Luxembourg)
             ZRL Beteiligungs AG (Austria)
             Companiya Invest Capital LLP (Ukraine)
             Agroinvest LLP (Kazakhstan)

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              Kazcapitallnvest LLP
              Makta Aral Company LLP (Kazakhstan)
              Orken Kapital LLP
              SMKK LLP (Kazakhstan)
              Yassy Invest LLP (Kazakhstan)

       (7)    The Respondent's 60% shareholding in Real Estate Commercial
              Company, a company holding property in Kazakhstan

       (8)    The Respondent's interest in the Business Centre at Tsvetnoi
              Boulevard, Moscow, and the following companies through which it is
              held:
              Helia Investments Ltd (BVI)
              Clerante Holdings Limited (Cyprus)
              Yarla Investments Limited (BVI)
              Tekhstroy Alliance CJSC (Russia)

       {9)    The Respondent's interest in the Oceanarium, Moscow, and the
              following companies through which it is held:
              Legendcatch Services Limited (Cyprus)
              Livehouse International Ltd (BVI)
              Salvino Services Limited (Cyprus)
              000 Marine Gardens

       {10)   The Respondent's interest in the Business Centre at Kutuzovsky
              Prospect, Moscow, and the following companies through which it is
              held:
              Jadason Enterprises Ltd (Seychelles)
              Minlin Estates Limited (Cyprus)
              Dik Nedvizhimost CJSC (Russia)
              Financial Centre Micex CJSC (Russia)

       (11)   The Respondent's interest in the Pavletskaya Square property, Moscow,
              and the following companies through which it is held:
              lnvestclub Investments Ltd (BVI)
              Salvino Services Limited (Cyprus)
              Ringbell Investments Limited (BVI)
              Simplecity Holdings Limited (Cyprus)
              Paveletskaya OJSC (Russia)

       (12)   The Respondent's interest in land at Kaluzkhoye Highway. Moscow, and
              the following companies through which it is held:
              Avalle Consulting Limited (Seychelles)
              Avgur Group Limited (Seychelles)
              Beststage International Ltd (BVI)
              Terrazone Investments Ltd (BVI)
              Bayshore Marketing lnc (BVI)
              Salvino Services Limited (Cyprus)
              Varna Limited (Seychelles)

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              Pakhra Fields LLC (Russia)
              PK Yurovo LLC (Russia)
              PO Bylovo LLC (Russia)

       (13)   The Respondent's interest in the Vitino Port, and the following
              companies through which it is held:
              Direct Logistic Solutions Ltd
              Lux Investing Limited (BVI)
              Tedcom Finance Limited (Seychelles)
              Usarellnvestments Limited (Cyprus)
              White Sea Complex B.V (Netherlands)
              Belomorskaya Neftebaza CJSC (Russia)
              N-Terminal LLC (Russia)
              Nord Shipping lnc (Belize)
              Northern Operations N.V (Netherlands Antilles)
              Sea Specialised Port Vitino LLC (Russia)

       (14)   The Respondent's interest in a mine in Kyrgyzstan, and the following
              companies through which it is held:
              Delaware Capital lnc (BVI)
              Merenko Limited (Cyprus)
              IPG Eurasia LLC (Russia)
              000 Saryjaz Mineral Mining Co

       (15)   The Respondent's interest in oil reserves in Kazakhstan through a
              33.3% shareholding in Parasat Group NV, and the following companies
              through which that interest and those shares are held:
              Ancilla Beteiligungs- Verwaltungs GmbH (Austria)
              Bondhouse Holdings Limited (Cyprus)
              Riverstreet Investments Ltd (BVI)
              Parasat Group NV
              NOO MK Caspian Zhuldyz
              TOO Caspian Tristar

       (16)   The Respondent's interest in the Cosmos Hotel, Moscow being a
              25.19% shareholding in OAO Gostinichniy Kompleks Cosmos, and the
              following companies through which it is held:
              Eminota Limited (Cyprus)
              Lemur Holdings Ltd (Cyprus)
              Fexon International Ltd (Seychelles)
              OAO Gostinichniy Kompleks Cosmos

       (17)   The Respondent's 10% shareholding in the New Tobacco Company, and
              the following companies through which it is held:
              lnstem Holdings Ltd (Cyp)
              000 Novaya Tabachnaya Companiya

       (18)   The Respondent's interest in Lizinigrvaya Compagnie Delo I
              Lisingovaya Kompaniya Delo LLC I Delo Leasing Company I Leasing

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              Company Delo LLC, registered in The Russian Federation with company
              number 1027739373540 on 26 October 2001

       (19)   The Respondent's interest in Orkan lnvest/Orken-lnvest LLP.




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                                         SCHEDULE F




   Company Name                                     Jurisdiction   Registration number

   Alasus Holding Limited                             Cyprus

   Asterius Holdings Limited                          Cyprus

   Creterius Finance Limited                          Cyprus

  Fendus Holding Limited                              Cyprus       HE 251906

  Gallamist Investments Limited                     Cyprus

  Global Scale Corporation                          Seychelles

  Ladyhawk Holdings Limited
                                                    BVI            1532832
  Landusaco Holding Limited
                                                    Cyprus
  Ludostad Properties Limited
                                                    BVI            1536275
  Melkus Finance Ltd
                                                    Cyprus         HE245410
  Parasus Finance Limited
                                                    Cyprus         HE 251918
  Peristar Holdings Limited
                                                    BVI            1536191
  Shallowlake Holdings Limited
                                                    Cyprus
  Staterax Holding Limited
                                                    Cyprus
  Stempel Holdings Ltd
                                                    BVI            1522709
  Utara Investments Ltd
                                                    BVI            1532811
  Xendus Holding Limited
                                                    Cyprus
  Handcart Investments Limited
                                                    BVI            1420942
  Imerys Limited
                                                    Cyprus         C195218
  International Petroleum Services Group Limited
                                                    BVI            489785
  Proteus Group Holdings Limited
                                                    Seychelles     081568
  Septrade Limited
                                                    Seychelles     027294
  Valenora Co Limited
                                                    Cyprus         C196265




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                                      SCHEDULE G
 A - Properties

 1.     the property known as and situate at Carlton House, The Bishops Avenue, East
          Finchley, London N2 OBA (including, without limitation, the property registered in
          the name of Mount Properties Limited at HM Land Registry under title number
          NGL92743);

 2.     the property and land known as the Oaklands Park Estate, Englefield Green
          (including, without limitation, the properties registered in the name of Lafe
          Technology Limited at HM Land Registry under title numbers SY675769,
          SY682778, SY719439 and SY719216);

 3.     Flat 79, Elizabeth Court, 1 Palgrave Gardens, London NW1 6EJ (registered in the
         name of Rocklane Properties Limited at HM Land Registry under title number
         NGL805728);

 4.     Apartment 17, Alberts Court, 2 Palgrave Gardens, London NW1 6EL (registered
         in the name of Bensbourogh Trading lnc at HM Land Registry under title
         number NGL802760);

 5.     the property and land known as and situate at Brook House, Westwood Road,
          Windlesham, Surrey GU20 6LX (registered in the name of Trasnational Assets
          Limited under title number SY1 09617);

 6.     the property known as and situate at Levens, 9 Broad Walk, Winchmore Hill,
          London N21 3DA (registered in the name of Smaland Property Holdings
          Incorporated at HM Land Registry under title number AGL209245);

 7.     the property known as and situate at Flat 10, Unwin Court, 1 Beaumont Close,
          London N2 OGA (registered in the name of Ziakova Finance Limited at HM Land
          Registry under title number AGL208329);

8.      the property known as and situate at Longwood, Waverley Drive, Virginia Water,
          Surrey GU25 4PZ (registered in the name of LSA Holdings Limited at HM Land
          Registry under title number SY242702);

B - Companies

  9.    Millcrown Investments Limited, a company incorporated in accordance with the
         laws of England and Wales under company number 07166644;

  10.   Teyla Holdings Limited, a company incorporated in accordance with the laws of
         Cyprus under company number C254188;

  11.   Smaland Property Holding Incorporated, a company incorporated in accordance
         with the laws of the British Virgin Islands under company number 1520544:

  12.   Ziakova Finance Limited, a company incorporated in accordance with the laws of
         the British Virgin Islands under company number 1519491; and

  13.   LSA Holdings Limited, a company incorporated in accordance with the laws of the
         British Virgin Islands under company number 1665572.

                                      SCHEDULE H


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                       Persons referred to in paragraph 15(c) above


   1. CSPS, AFFILIATED LAW FIRMS AND OTHER THIRD    PARTIES

       Advanced Audit and Tax Consulting (P.P.) Ltd

       Alick Lawrence Attorney at Law

       Alpha Consulting Limited

       Anderson Business Services (CY) Ltd

       Andreas P. Dimitriadis & Synergates

       Andreas Sofocleous & Co

       Ashbury & Bloom Ltd

       Aspen Trust Group Ltd

       Christodoulos G. Vassiliades

       Christodoulos G. Vassiliades & Co LLC

       Chrysses Demetriades & Co LLC

       Consulco

       Consulco & Partners

       Costas lndianos & Co Limited

       DS Express

       Elias Christofi & Co.

       Fiduserve Overseas Limited

       Fidux Management Services GmbH

       GMA Auditors Limited

       GWM Center

       Hasberger, Seitz & Partner Rechtsanwalte GmbH

       Hugh F Shaw & Co

       International Overseas Services lnc

       K. Treppides & Co

       Karibouni Corporate Services Limited

       Michael Berry

       N.C.L. Corporate Services Ltd

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       N.K. Oriaka Management Limited

       Papachristophorou & Co

       PNO Law Firm LLC

       Profserve Limited

       Proteus Consulting & Services Limited

       Quijado & Asociados

       ROH Rechtsanwalte AG

       SPW (UK) LLP (UK)

       Starport Nominees Limited

       TMF Netherlands B.V.

       Transhold Corporation Ltd

       Unitrust Corporate Services Limited

       Worldwide Corporate Services Limited

  2. REGISTERED AGENTS

       A.C.T. - Offshore Limited

       Aleman, Cordero, Galindo & Lee Trust (BVI) Limited

       All About Offshore (Seychelles) Limited

       Alpha IBC Secretaries Ltd

       AMS Financial Services

       AMS Trustees Limited

       Andreas Demetriades

       Annie Yeap

       Apollo Business Solutions (PTY)

       Aspen Secretarial Services Limited

       Augi Kalogirou

       Avomar Limited

       Belserve Consultants Limited

       Benedetti & Benedetti

       Best Corporate Services lnc

       Cherkoules Jason Christian

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       Christofi Secretarial Limited

       Cititrust International Ltd

       Clifton SC Limited

       Commonwealth Trust Limited

       Cyproservus Co. Limited

       Daria Kozlova

       Derbent Services Limited

       Dilea Secretarial Limited

       DMS Corporate Services Ltd

       Elena Hadjiroussou

       Equity Trust (BVI) Limited

       Equity Trust Co (Luxembourg) SA

       Fidappoint Secretarial Limited

       Fidelity Corporate Services Ltd

       Fiduserve Management Limited

       FIFCO (Offshore) Services Ltd

       Georgia Karides

       Giorgoula Zinonos

       Harneys Corporate Services Limited

       ILS Fiduciary (BVI) Limited

       ING Trust (BVI) Limited

       International Investment Services Ltd.

       International Law & Corporate Services (Pty) Ltd

       lntershore Consult (Pty) Ltd

       Jordans (Caribbean) Ltd

       Jordans (Seychelles) Limited

       Mayfair Trust Group Limited

       Medwell Holdings Limited

       Morgan & Morgan Trust Corporation Limited

       Mossack Fonseca & Co. (BVI) Ltd

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       Mossack Fonseca & Co. (Panama)

       Mossack Fonseca & Co. (Seychelles) Ltd

       Newhaven Corporate Services (BVI) Limited

       Nikolaou Charalampous Despoina

       Orthodoxia Pericleous

       Panayiota Eleftheriou

       Panayiotis Savva

       Patton, Moreno & Asvat (BVI) Limited

       Paul Kythreotis

       Platform Trustees Ltd

       Plenexus Limited

       PKM Management Limited

       Portcullis TrustNet (BVI) Limited

       PPT Secretarial Limited

       Primeserve Secretarial Limited

       Regiserve Secretarial Limited

       St Vincent Trust Service Limited

       Skysec Secretarial Limited

       Starport Secretaries Limited

       Sucre & Sucre Trust (BVI) Limited

       The Trust Company of the Marshal! Islands Inc.

       Top Secretarial Limited

       Totalserve Trust Company Limited

       Trea Secretarial Limited

       Trident Trust Company (BVI) Limited

       Trustone Services Limited

       Vimatex Ltd

       Waterlow Registrars Limited

       Woodmax Investments Limited

       Zoulian Limited

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 3. BANKS

       Alpha Bank

       OJSC Promsvyazbank

       Marfin Popular Bank

       Hellenic Bank

       Bank of Cyprus

       Baltikums Bank AS

       Commerzbank (Eurasija) SAO

       European American Investment Bank AG

       Eurohypo AG

       ING Bank (Luxembourg) SA

       LGT (Schweiz) Bank

       AS Rietumu Banka

       Trasta Komercbanka

       Eurobank EFG Cyprus Limited

  4. LIQUIDATORS

       Christina Cornelia van den Berg

       Damjan Glusica

       Edward Petre-Mears

       Sarah Petre-Mears




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                                          SCHEDULE I

             The shares in, and the Direct and Indirect Assets of, the following companies:

    No. Company Name                                        Jurisdiction              Registration

    1.   Advanced Media Centre Limited                      UK                        5275944
    2.   Tinex Trading Limited                              Seychelles                23648
    3.   Vinson Limited                                     Belize                    99569
    4.   Integrated Solutions Group Limited                 UK                        03956231
    5.   Roskon Limited                                     Seychelles                030745




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                                                                SCHEDULE J

             The shares in, and the Direct and Indirect Assets of the following companies:

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                                                                                                               -subsidiaries,, /,:,:
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      ,~pmp~:u')y,~;~me,,,  '           '   Jurisdiction ', Registration No                           '   .,    ,, ' '  ;;,   ':'   '            '




      Adorna Investments                      Cyprus                                  198993
      Limited

2.
      Advisys Limited                           BVI                                   580827
3.
      Alan Holding BV                       Netherlands                      34262958
4.
      Alexeeva Investment Ltd                 Mars hall
                                              Islands
                                                                                                               Mansour Consolidated lnc
5.
      AMT Capital Group                         UK                           06892912
      Limited

6.
      Anadion LLC                           The Russian            1047796259400
                                             Federation
                                                                                                               Sibtrans-Service
7.
      Andrea Investment Ltd                   Marshal!                                                         Woodcock Enterprises Ltd
                                              Islands

8.
      Argonaut Trading Limited                  BVI                               1493326
9.
      Arkadios Holdings Limited
10.
      ATTA-Strakhovanie 000 I               The Russian            1027715011015
      ATTA-Strakhovanye LLCI                 Federation
      ATTA-Insurance LLC I
      ATTA Insurance 000
11.
      Bains Investment SA                     Marshal!                                20821
                                              Islands

12.
      Balton Trade LLC I                    The Russian            1047796259830
      BaltonTreid LLC                        Federation

13.
      Barenholt Productions Inc.                BVI                               1040204                      Mattergate Enterprises



14.
      Bars I Bars LLC                       The Russian            1037719051468                               Rolanta LLC (the Russian
                                             Federation                                                        Federation)- 100%

                                                                                                                 IK Snabpromgarant LLC- 1%
15.
      BetaConsult I Beta                    The Russian            1027703027021
      Konsult LLC                            Federation




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 16.
          Bickart Intertrade Corp               BVI                1058717        Sirloin Holdings

 17.
          Bitsen Enterprises Limited          Cyprus
 18.
          Blake Group International             BVI                1423828
          S.A.

 19.
          Buildnet Trading Limited              BVI                1493327
 20.
          Burim Consulting Limited              BVI                1396990        Unishare Trading

 21.
          Burlington Organisation             Ireland              247880
          Limited

 22.
          B~:~saky GeFRf)aAy biFRiteEI          BVI                1423854
          Buzsaky Company, Ltd

 23.
          Caspineft N.V.                   Netherlands          27304632

 24.
          Chadwick Group                        BVI                1423856
          International Limited

 25.
          Chernoweth Holdings S.A.             BVI                 1423822

 26.
          Citybestplus LLC I              The Russian       1047796234122
          CitiBestPius LLC I               Federation
          SitiBestPiyus LLC

 27.
          Cold Metal Investments               BVI          14 93288 1493328
          Limited

 28.
          Coldwave International               BVI                 1462198
          Limited

 29.
          Connolly Investment                  BVI                 1423858
          Group S.A.

 30.
          Crodet Alliance Ltd                  BVI                 1412463

 31.
          Dalgast Finance Limited              BVI                 1058280

32.
          DanieroWest 000                    Russia         1027739833824

33.
          DB Wilson Limited                   Belize               34387

34.
          Delbrook Commerce, Inc.              BVI                 1058659




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35.
      Dirfos Holdings Limited                    BVI                  1049722          Zaforim Investments

36.
      Discovery CJSC                           Russia           1037739932031          000 ORNAMENT (95%)

37.
      Doumbe Holdings Limited                    BVI                  1423585

38.
      Dumion Holdings Limited                  Cyprus

39.
      Eastbridge Capital Limited                 UK                04891832

40.
      Eastbridge Trading                         UK                05361980
      Limited

41.
      Eastwest Import/Export,                    BVI                  1066693
      Limited

42.
      Ebano Services Corp                        BVI                  1453627

43.
      Edeltorg LLC I Edeltorg                  Russia           1027739925510         (1) Everlait
      000
                                                                                      (2) Erelon
44.
      Elindo Limited                          Cyprus                  153157

45.
      Elt Lojistik Limited I Elt              Turkey                  637404
      Lojistik Limited Sirketi

46.
      Emexpo Trading Limited                  Cyprus                  153122

47.
      Erelon 000                              Russia           1027739790825

48.
      eFtevia =i=FaEliR§ biFRiteEl            GyfiFI::IS

49.
      Eucharis Investments                    Cyprus
      Limited

50.
      Everlait 000                            Russia           1027739790517

51.
      Fallon Group Holdings                     BVI                   1423697
      biFRiteEl Ltd
                                                                      1423597

52.
      Fantazia Investments                      BVI                   1490149
      Limited

53.
      Faurecia Holdings Limited               Cyprus                  183354          Zink Investments 11 BV (100%)




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    54.
          Finex Global Limited          BVI              531138

    55.
          Fin Expo                     Russia      104 77964 74692

    56.
          Finsystems Group Limited     Belize             34395

    57.
          Firstelement Trading          BVI              1489399
          Limited

    58.
          Fleur Finance Sari         Luxembourg          141503
          (formerly Bedwyn Holding
          Sari}

    59.
          Flickard International        BVI              1047172
          Limited

i 60.
;
          Forest Management          Seychelles          11661       (1} Interest in JSC BTA Bank
          Limited
                                                                     (2) Tverskaya Finance (25%)
    61.
          Forward Corporation        Seychelles          027 469

    62.
          Gelion Marketing, lnc         BVI       1062912
                                                  (previous IBC No
                                                  was 659077)
    63.
          Global-Securities I        Kazakhstan   050240000858       Orken-lnvest LLP (Kazakhstan)
          Kompaniya Global
          Securities I Global
          Sekyurites LLP

    64.
          Gloxenia Securities           BVI       298370
          Limited Ltd

    65.
          Gold Point (GB) Limited       UK        04415336           Held an interest in JSC BT A Bank
                                                                     (0.03% in 2009}
          (previously called Gold
          Point Limited)

    66.
          Goldfish Holding Sari      Luxembourg   141509
          (previously Belper SARL)

    67.
          Goslong Group Limited         BVI       1423592

    68.
          Granovest LLC                Russia     1047796259191      000 lngtekhtrans

    69.
          Granton Trade Limited         BVI       542192



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 70.
        Grittleton Limited                                    Cyprus          144541                               Profile A LLC (1 00%)

 71.
        Groveley Holdings Limited                               BVI           1047178

                                                                              1047181
 72.
        Halmosi Holdings S.A.                                   BVI          1423697

 73.
        Hayles Investments                                      BVI           1423853
        Limited

 74.
        Hedgetempo Enterprises                                Cyprus         222067
        Limited

 75.
        Hillmore Trading Limited                                BVI          1047179

 76.
       lncompro Management                                      BVI          1042063                               (1) Ardrock Holdings Limited (1 ,500
       Limited                                                                                                     shares)

                                                                                                                   (2) Bramilt Enterprises Limited
                                                                                                                   (1 ,500 shares) (2008/2009)
 77.
       lndotech Resourses                                     Ireland        299368
       Limited

 78.
       lnterConsulting                                        Russia         1047796786894

 79.
       lnterResource I lnterresurs                           Ukraine         31904064                              Korporatsia VPK (Ukraine)
       LLC

 80.
       Iris Import/Export Limited                               BVI          1058083                               Belinia Investments Ltd

 81.
       lsabelle Investments Ltd

 82.
       Jadon Services Limited

 83.
       Jimaradise Co. Ltd                                    Marshal!                                             Bickart Intertrade Carp
                                                             Islands

 84.
       Johnson Quality Products                                BVI           1057741
       Inc.

 85.
       Kachina Investments                                     BVI           1397001                              Adorna Investments Ltd (1 00%)
       Limited

 86.
       Kalistone Ltd                                         Cyprus




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    87
          · Kalmcap Limited

    88.
            Kateri Limited                             BVI            1396989

    89.
            Kats Holding SARL                   Luxembourg            141505

            (previously Bescot
            Holding)

    90.
            KazCo Construction                   Kazakhstan           11 0127995                  Samal Properties LLP (63%)
            Industrial Ltd LLP

    91.
            Kewferry Investments                       BVI           1044214
            Limited

    92.
            Khudred-Service 5                       Russia           1027739926059

    93.
            Konvis LLC                          The Russian          1047796094939
                                                 Federation
    94.
            Labroy Marine Limited                   Cyprus           176449                       (1) Zepelin Management Company
                                                                                                  LLC (47.5%)

                                                                                                  (2) Terem LLC Management
                                                                                                  Company (100%)

                                                                                                  (3) Partner House LLC (100%)
    95.
           Laird lnt'd Holdings                       BVI            1423863
           Limited

    96.
           Larrieu Limited                            BVI            1423562

    97.
           Leafs Holding SARL                   Luxembourg           141506
           (formerly Bexhill Holding
           Sari)

    98.
           Lerandex LLP                                UK            OC303053

    99.
           Lestul Holdings Ltd                        BVI            530839

    100
           Lewton Trading Limited                     BVI            1048766                      Ertoria Trading Limited (1 00%)

    101
           Lintravel LLC I Lean                 The Russian          104 7796225564
           Travel I LinTrevel LLC                Federation

    102
           Lockerlnc



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 103
        Lovnia Enterprises Limited               Cyprus

 104
        Lugasol Corporation

 105
        Lurosell Invest LLP                         UK           OC307712                   Interest in JSC BT A Bank (0.29% in
                                                                                            2009)
 106
        Maltiko Trading Limited t                Cyprus          153112
        Maltise +FaEliR§ btEl

 107
        Malvestone Limited                         BVI           1045494

 108
        Mansour Consolidated lnc                   BVI           1058284

 109
        Marion Plus                              Russia          1027739924717

 110
        Marpen Associates Inc.                     BVI           682708

 111
       Marusya Investment Ltd                   Mars hall                                   Lewton Trading Ltd (100%)
                                                Islands

 112
       Mattergate Enterprises                    Cyprus          198214
       Limited

 113
       Mazoo Holdings Limited                      BVI           1490146

 114
       McCormick Invest Limited                    BVI           1423860

 115
       Meditec Industries Limited             Seychelles         023647

 116
       Mega Holding                             Marshal!         7900
                                                Islands

 117
       Melvin Holdings SA                       Mars hall        20820
                                                Islands

 118
       MenkorMK                                  Russia          1027739926433             000 Traiker (100%)



 119
       Mettler Products Inc.                       BVI           1044850                    Francont Trading Limited

 120
       Minoo Management                            BVI           1396996
       Limited

121
       Moneydeal Trading                           BVI           1490152
       Limited



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1 122
        Nadil Investment Limited            BVI         530837

 123
        Nalis International Inc.            BVI         1423586

 124
        Naturalna Holdings              Cyprus          186387
        Limited

 125
        Newdell Enterprises             Ireland         300097

 126
        Newvision Holdings             Cyprus           220527          Altyn Invest LLC
        Limited

 127
        Nicomatic Ventures             Cyprus           183332          (1) Zink Investments Ill BV (100%)
        Limited
                                                                        (2) Old Road International Limited
                                                                        (100%)


 128
        Nigella Investments            Cyprus                           Neshani
        Limited

 129
        Norris International                BVI         1423775
        Holdings

 130
        000 KolinVest I KolinVest   The Russian         1047796227600
        LLC                          Federation

 131
        ORS Holdings Ltd              Marshal!                          Resthar International Ltd ( 100%)
                                      Islands

 132
        Paladioexport LLC I         The Russian         1047796259367
        PaladioEksport LLC           Federation

 133
        Pilotland                           BVI

 134
        Premium-Invest LLP I        Kazakhstan          050240013661    Kompaniya KazAgroResurs LLP
        Kompaniya Premium-                                              (Kazakhstan)
        Invest LLP
                                                                        Finansovaya kompaniya Progress
                                                                        LLP (Kazakhstan)
135
        Priceless Trading Limited           BVI         1490063

 136
        Progress Financial          +!:le   R~:~ssiaA   ~Q777e23aa4e~
        Company I Finansovaya        ~eEleFatieA
        Kompaniya Progress LLC      Kazakhstan          600700205610



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138
      Prunus Holdings Limited      Cyprus      198286

139
      Quaraz Limited               Cyprus      229113          Kats Holding Sari

140
      Real Services I Real         Mars hall
      Services Limited             Islands

141
      Refk Financial
      Opportunities B.V.

142
      Reganta                      Russia      1027739802639   (1 ) 000 Viv-Trading

                                                               (2) 000 Daneiro West

                                                               (3) 000 Menkor MK
143
      Reid Investment Holdings       BVI       1423867
      Incorporated

144
      Resthar International          BVI       1035432         Bitsen Enterprises Limited
      Limited

145
      Rolanta 000                The Russian   1037789031180   ATT A-Strakhovanie LLC (the
                                  Federation                   Russian Federation)- 12%

                                                               IK Snabpromgarant LLC (the
                                                               Russian Federation)- 99.9%
146
      Royal Tara Investments     Seychelles    23641           Previously Mount Properties Limited
      Limited

147
      Roysun Products Limited        BVI       1041718         Calower Enterprises Limited (100%)

148
      Roza LLC                     Russia      1077758552574

149
      RSCT Limited (previously     Cyprus      199797
      Mardue Investments Ltd)

150
      Ryxan Limited                Cyprus      230383          Leafs Holding Sari

151
      Salestreet Sallestreet       Cyprus      HE 180413
      Holdings Limited

152
      Samba Bay Group                BVI       1423833
      Holdings Limited


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153
      Sanesta Investments                  Cyprus
      Limited

154
      SAW Holding Gmbh                     Austria     270436

155
      Sawyer Consultants Inc.                BVI       1423862

156
      geiP lllJeFIElwiEle Seip               BVI       1423596
      Worldwide Ltd

157
      SEVW Holding Gmbh                    Austria     270445

158
      Silvercross Associates                 UK        3047013
      Limited                                          03047013
159
      Sirlon Holdings Limited              Cyprus

160
      Skypass Investments                    BVI       1488959
      Limited

161
      Softlain Holdings Limited            Cyprus      175800

162
      Somosius Holding BV

163
      Soviet Star (Cyprus)                 Cyprus      199182                         (1) Sovstar 1 (Cyprus) Limited
      Limited (previously
      Archana Holdings Limited)                                                       (2) Alexpro Trading Ltd

164
      Sparkway Enterprises               Seychelles    22470
      Limited

165
      Staour Limited                         BVI       1494527

166
      g+eK 1ooo ooo ooo                    Russia      1027739420345
      Stek-1000/Stek-1000 LLC

167
      StFeyEliamant                        Russia      1027739g3g4€)€l               000 Ugolno-briketnaya fabrika
      StroiDiamant LLC                                 1047796094829                  Rusoven
168
      Stroymontazh ZAO I                 The Russian   1047796813283
      Stroimontazh LLC                    Federation

169
      Summerview Limited                 Seychelles    023643

170
      Suncily Holdings Limited             Cyprus      186462




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  171
            T etroconsult 000                                   Russia     1027739420202

  172
            Timar Group Holdings                                 BVI       1423560
            Limited

  173
            Timmins Investing Limited                            BVI       1385675

  174
            TOO Firma Kart Blansh I                           Kazakhstan   021240002910        PlodEx JSC
            Firma Kart-Biansh Ltd LLP

  175
            Traiker 000                                         Russia     1027739925180

  176
            Tsitomedpharm 000                                   Russia     1027700087117       (1) 000 Belovsky Sakhar

                                                                                               (2) 000 Ela

                                                                                               (3) 000 Bemua

                                                                                               (3) 000 Fosna
 177
            Tyhawk Ltd                                          Cyprus

 178
            Vest-Consult                                        Russia     1037725001357       (1) 000 Bars

                                                                                               (2) ZAO DIK-Nedvizhimost

                                                                                               (3) ZAO lnvestCapital

                                                                                               (4) ZAO NTK-AIIiance

                                                                                               (5) ZAO TAU-Aktiv

                                                                                               (7) ZAO Finansovy Service
 179
            Viv-Trading 000                                     Russia     1027739924981       000 Nortex

 180
            Vultus Holding Limited                              Cyprus

 181
            Waiters Overseas Limited                             BVI       1045880             Jollawood Trading & Investments
                                                                                               Ltd
 182
            Watberg Investments                                  BVI       1048579
            Limited

 183
            Waterstar Holding SARL                            Luxembourg   141507

            (Formerly Bleasby
            Holdings Sari)




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 184
       Welwyn Overseas Limited                   BVI          1044201

 185
       Woodcock Enterprises                      BVI          1044254                  Lovnia Enterprises Ltd
       Limited

 186
       Wotton Group Limited                      BVI          1423564

 187
       Wyedene Holdings Limited                Cyprus         204399                   Waterstar Holding Sari

 188
       Yassy-Capital                        Kazakhstan        11 0185725

 189
       YTM Holdings Ltd                       Marshal!        20822
                                              Islands
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           LLC

  201
           Beaumaris Overseas                                     BVI           1554539
           Limited

  202
           Briverdei-Lemora Mo, LLC                           The Russian       1035009569242
                                                               Federation
  203
          Centralnaya                                         The Russian      5067746456399                    Evrasia-EnergoServis LLC - 50%
          Developrskyaya                                       Federation
          Kompaniya (CDK) I
          Tsentralnaya
          Developerskaya
          Kom paniya I Central
          Developer Company ZAO

 204
          Credo Ventures Limited                               Seychelles      79361

 205
          Cumberline Holdings                                     BVI          1536190
          Limited

 206
          Danai Invest LLP I                                  Kazakhstan       061140004633
          Kompaniya Danai Invest
          LLP

 207
          Desimon Ventures Ltd                                Seychelles       79362

 208
          Dilara LLC                                          The Russian      1057747311577                   StavropoiBio LLC (the Russian
                                                               Federation                                     Federation)

                                                                                                              StroyTekhnoSnab LLC (the Russian
                                                                                                              Federation)
 209
          Dudar Capital LLP I Dudar                           Kazakhstan       060940004154
          Kapital Ltd LLP

 210
          Eseke Limited LLP                                   Kazakhstan       070240006137                   Bask Invest LLP (Kazakhstan)

 211
          Etalon LLC                                          The Russian      1077759940466                  Eurasia-Energo LLC (the Russian
                                                               Federation                                     Federation)- 99.9% (liquidated)
 212
          Etrusco N.V. I Entrusco                             Netherlands      58226
          N.V.                                                  Antilles

 213
          Eurasia Capital                                       Jersey         101982
          Investments Holding Ltd

 214
          Eurasia Capital                                       Jersey         101983



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      Investments Ltd

215
      Eurasia Capital Ltd                   Cyprus

216
      Eurasia Capital ZAO I           The Russian              1065012028080
      Evrasia-Kapital LLC              Federation

217
      Eurasia City 000 I             The Russian               1077757800812                 Evrasia- Transportniye Systemi
      Eurasia City LLC I Evrasia      Federation                                             LLC (the Russian Federation)-
      SITI LLC
                                                                                             99% (liquidated)
218
      Eurasia-Energo LLC I           The Russian               1067760062347                 Evrasia-EnergoServis LLC (the
      Eurasia Energo I Eurasia        Federation                                             Russian Federation)- 50%
      Znergo I Eurasia Energy
      LLC I 000 Evraziya-
      Energo I Evrasia-Energo
      LLC

219
      Eurasia Kholod ZAO I           The Russian               1077847548371
      Evrasia Kholod CJSC I           Federation
      Eurasia Kholod CJSC

220
      Eurasia Logistics Co Ltd              Russia
      LLC

221
      Eurasia Logistic LLC I         The Russian               1067746011211                 Joint Venture Eurasia M4 CJSC -
      Evrasia Logistik LLC            Federation                                             50%

                                                                                             Evrasia Kholod CJSC - 99%
222
      Eurasialnvest I                 Kazakhstan              041240007985                   Ereymentausky plemkhoz LLP
      Eurasialnvest I                                                                        (Kazakhstan)
      Evraziyalnvest I Evraziya-
      invest LLP I Eurasia Invest
      Company LLP

223
      Eurazia Nedvijmost I           The Russian              1057749604329                  Logopark Tula LLC (the Russian
      Eurazia Nedvijimos I            Federation                                             Federation)- 100%
      Eurasia Nedvizhimost I
      Evrasia nedvizhimost LLCI
      Eurasia Real Estate LLC

224
      European Union Fidelity                BVI              287506
      Holding Limited

225
      Evro PM (formerly Olson               Russia
      Project Management) LLC

226
      Excellent Glide Airline JSC     Kazakhstan              060640019924


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        I Aviakompaniya Excellent
        Glide JSC

 227
        Finansoviy Consultants                The Russian          5087746066997
        LLC I Finansovy                        Federation
        Konsultant LLC I Financial
        Consultant LLC

 228
        Grand City LLC I Grand                The Russian          1047796396911
        Siti LLC                               Federation

 229
        Handley Capital lnc                         BVI            1554507

 230
       Hendy Assets Limited I                   Seychelles         14937
       Hendy Assets
       Management

 231
       IG BTA-Kapital 000 I IG                The Russian          1067758221123
       BTA-Capital LLC I                       Federation
       lnvestitsionnaya Gruppa
       BT A-Kapital LLC I 000
       IG "BT A-Kapital"

 232
       lnterstroy LLC I lnterStroi            The Russian          ~Q4779e87e4~2
       LLC                                     Federation
                                                                   1067759993124
233
       lnvestGroup 000 I                      The Russian         5087746174654
       lnvestGroup LLC I                       Federation
       lnvestGrupp LLC

234
       Kamenskoe Plato                         Kazakhstan         060440000153
       (Spectrum-S LLP) (Rock
       Plateau) (Spectrum-C)

235
       Klaudia Holding Limited                    Cyprus

236
       Kredo K 000 I Kredo K                  The Russian         1042401807106
       LLC I Credo K LLC                       Federation

237
       Lizing Ekspert LLC I                   The Russian         1057746409335
       Leasing Expert LLC I                    Federation
       Leasing Expert 000

238
       Lindfield Corporate lnc                      BVI           1399972

239
       begepaFk Bataiskiy GJSG ,l             The Russian          1106193005544
       begepaFk Bataysky bbG                   Federation
       Logopark Batayskiy 000


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240
      Logopark Biek Tau CJSC       The Russian   1071690003714
                                    Federation
241
      Logopark Borispol I            Ukraine     35416949
      Logopark Boryspil LLC

242
      Logopark Brovari I             Ukraine     35416954        Logopark Borispol LLC (Ukraine)
      Logopark Brovary LLC

243
      Logopark   Kalinovka I         Ukraine     35417006
      Logopark   Kalynovka I
      Logopark   Kalynivka LLC I
      Logopark   Kalinivka LLC

244
      Logopark Kamenka CJSC        The Russian   1075406047133
                                    Federation
245
      Logopark Kolpino: Central    The Russian   1077847551814
      Terminal CJSC I Logopark      Federation
      Kolpino: Terminal
      Tsentralny CJSC

246
      Logopark Limansky I            Ukraine     35502304
      Logopark Lymansky LLC

247
      Logopark Tatischevo          The Russian   1076450009943
      CJSC                          Federation

248
      Logopark Tolmachevo          The Russian   1075475000930
      CJSC                          Federation

249
      Logopark Vasil'evsky I         Ukraine     35416933        Logopark Kalinivka (Ukraine)
      Logopark Vasilivskiy LLC I
      Logopark Vasilievsky LLC

250
      Logopark Yuzhno-             The Russian   1076166002307
      Bataiskiy CJSC I Logopark     Federation
      Yuzhno-Bataysky CJSC

251
      LogoparkKolpino: South       The Russian   1077847544686
      Terminal CJSC I Logopark      Federation
      Kolpino: Terminal Uzhny
      CJSC

252
      LogoparkPyshma: Central      The Russian   1076606001273
      Terminal CJSC I Logopark      Federation
      Pyshma: Terminal
      Tsentralny CJSC



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      LogoparkPyshma: North
      Terminal CJSC I Logopark
      Pyshma: Terminal
      Severny CJSC


      Lumette Corporation         Seychelles   45206


      Maxray Logistics Limited    Hong Kong    955892


      Maxwell International        Ukraine     36202797
      Medical Consulting LLC I
      Maks-Velllnternational
      Medical Konsalting LLC


      Mindexact Limited            Cyprus


      Mitra Company LLP I        Kazakhstan    070940002695
      Kompaniya Mitra LLP


      Mix LLC I Mig LLC I LK     The Russian   1043400251400
      000 Mig                     Federation

      NAK-Service LLP (NAK-      Kazakhstan    050940012639    Kazeksim LLP (Kazakhstan)
      Servis, NAK Service, NAK
      Servis)                                                  Upravlyayuschaya kompaniya
                                                               Estate Construction Servis LLP
                                                               (Kazakhstan)
261
      New Kalkaman LLP I Novy    Kazakhstan    040240003286
      Kalkaman LLP


      Novosti Publishers I       The Russian   1027700053347   Stolovaya lzdatelvsto Novosti LLC
      lzdatelstvo Novosti JSC     Federation                   (the Russian Federation)

      Nyanga Limited I Nyanca        BVI       365647
      Ltd


      Nynco Limited                  BVI       1009404


      Olbruck Limited


      Omega LLC I YuB Omega      The Russian   1077759880120
      LLC                         Federation

      Pereslavka 62 I            The Russian   1027739424041
      Pereslavka-62 MSC OJSC      Federation




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268
      Praym-Stroy I Prime-Stray         Ukraine     34695337
      LLC I Praym-Stroy TOV I
      Praim-Stroy LLC

269
      Prima Finance I Prima           The Russian   1087746481206
      Finans LLC                       Federation

270
      Progen Investment                Uzbekistan

271
      Rendalius Holding Limited         Cyprus

272
      Rincoms Limited                     BVI       584788

273
      ReElEliRI~teR 1- ReElEliRQteR     Cyprus      HE 270071
      Roddinckton Trading
      Limited

274
      Romanus Ltd                       Cyprus

275
      Rm'RtFaEle 1- ReffltFeiEl           BVI       485946 485947
      l=leiEliRQS biffliteEl
      Romtrade Holdings Ltd

276
      Rossberg Trading Limited            BVI       1645805

277
      Severnaya Zvezda ZAO I          The Russian   1117746834589   Logopark Pishma LLC (the Russian
      Severnaya zvezda CJSC            Federation                   Federation)- 99%

278
      Sheldon Limited                 Seychelles    81742

279
      Shygys Susyndary LLP            Kazakhstan    061040004500
      (formerly Semei Su)

280
      Snabpromgarant LLC              The Russian   1025000653380   Aliance lpoteka LLC (The Russian
                                       Federation                   Federation)- 0.23%
281
      StateQate l=leiEliRQS             Cyprus      HE 182335
      biffliteEl CNRG Contractor
      Limited

282
      Stepan Investments                Cyprus
      Limited

283
      Stroiproekt I Stroyproekt       The Russian   5067746966766
      CJSC I Stroyproyekt              Federation
      CJSC I ZAO Stroiproekt




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      Stroyproekt-2030 LLP           Kazakhstan      620200245111
      (Stroyprojekt-2030,
      Stroyproject-2030,
      Stroiproekt)

285
      Sur Capital Limited              Armenia

286
      TAU-active I T AU-Aktive      The Russian      1077759879724
      CJSC IT AU-Aktiv CJSC          Federation

287
      TLT 000 I TLT LLP              Kazakhstan      060240006026

288
      Tyan-Shanskiye Yell            Kazakhstan      011040000142
      Nursery Garden LLP I
      Pitomnik Tyan-Shanskie
      eli LLP

289
      Ukrainian Regions                Ukraine       31750211              lnnovatsiyna Budivelna Kompaniya
      Development Fund LLC                                                 (Ukraine)
      (URDF) I Ukrainsky Fond
      Razvitiya Regionov LLC

290
      Uni-Finanz PJSC I Uni-           Ukraine       33787966
      Finans PJSC

291
      Zher Ana Limited LLP           Kazakhstan      0707 40018169

292
      Zhrtas-lnvest AIFRI I          Kazakhstan      070640002664
      Zhartas-lnvest I
      Aktsionerny investitsionny
      fond riskovogo
      investirovaniya Zhartas
      Invest, JSC




               The stated number is apparently the individual taxpayer's number of the company.

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                                                                                SCHEDULE K

                    The shares in, and the Direct and Indirect Assets of the following companies:


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         Amica Partners Limited                          Seychelles                              27467

  2.
         Anicom Services Limited                                BVI                            1493343
  3.
         Colorino Trading Limited                            Cyprus                             164923                   Oranta (25%)

 4.
         Eaglecity Limited                                   Cyprus                             195005

  5.
         Maxwell Biocorporation                                 BVI                             151500
         Limited

 6.
         Saleta Limited                                      Cyprus

 7.
         Technoinvest JSC I                            The Russian                       1037789035305
         Tekhnoinvest CJSC                              Federation
 8.
         Astra LLC                                     The Russian                       1107847008114
                                                        Federation
 9.
         Avantar Limited Avantar                            Ukraine                           33501754
         LLC
 10.
         Barat Invest Limited                           Kazakhstan                       061140001526                    Building Service Company LLP
                                                                                                                         (Kazakhstan)
 11.
         Bask-Invest LLP I Bask                         Kazakhstan                       070140006034
         Invest LLP

 12.
         Baushtoffe TOV I                                   Ukraine                           35290201                   Nerudinvest (Ukraine)
         Baushtoffe LLC

 13.
         Bernua 000 I Bernua                           The Russian                      1037700257550                    Agrokursk LLC - 20%
         LLC                                            Federation
                                                                                                                         MSK-Agro LLC - 20%
 14.
         Business-Service                               Kazakhstan                       020640009642                    Kazakhstan Legal Group LLP
         Management Company                                                                                              (Kazakhstan)
         Limited LLP I Business
         Service Managing                                                                                                Kompaniya Legal Group LLP
         Company Limited I
                                                                                                                         (Kazakhstan)
         Upravlyayushchaya
         kompaniya Biznes Servis                                                                                         Serebryansky zavod
         LTD LLP
                                                                                                                         neorganicheskikh proizvodstv LLP
                                                                                                                                                  4
                                                                                                                         (Kazakhstan )




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15
      · Centrlnvest LLC I           The Russian   1067759373615
        Tsentrlnvest LLC             Federation

16
      · Concept I Koncept CJSC I    The Russian   1057748034398
        Kontsept CJSC                Federation

17
     · Delfixcom Limited              Cyprus

18
     · Ecogeoneftegaz LLP I         Kazakhstan    980440004207
       Ekogeoneftegaz LLP

19
     · Faribana Enterprises           Cyprus
       Limited

20
     · Ferro Limited I Firma          Ukraine       33301420      Ukrkhimtorg
       Ferre LLC
                                                                  Ukrainsky Fond Rosvitku Regioniv

                                                                  Avtopromkhim

                                                                  lnnovatsiyna Budivelna Kompaniya
21.
        Galena LLC I Galina TOV       Ukraine       31474719      Odont, Dochirne Pidpriemstvo

22.
        Gammalnvest LLC             The Russian   1077759939256
                                     Federation

23.
        Global Gases and Energy     The Russian   1055011300937
        LLC I Global Gasis and       Federation
        Energy LLC I Global Gazis
        & Enerdzhi LLC I 000
        Global Gasiz End
        Enerdzhi

24.
        Harlem Securities Limited      BVI              1489328

25.
        Innovation Construction       Ukraine       33058251      Ukrainsky Fond Rosvitku Regionov
        Company LLC (ICC) I
        lnnovaciyna Budivelna
        Kompaniya LLC

26.
        lnterfinance Management     Kazakhstan    060140000360    Predgornensky masloextraktsionny
        Company LLP I                                             zavod LLP (Kazakhstan)
        lnterfinance Managing
        Company I                                                 Upravlyayuschaya kompaniya 4K
        Upravlyayushchaya                                         LLP (Kazakhstan)
        kompaniya lnterfinans LLP

27.
        Investment Trading            Ukraine       31867871
        Corporation
        "Promindustria" I
        Ukraininskaya


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l          Promyshlenno-
           lnvestitsionnaya
           Korporatsia Promindustria
           CJSC

    28.
           lnzhservis 000 I                    The Russian           1067759933130
           lnzhservis LLC                       Federation

    29.
           KATO 000 I KATO LLC                 The Russian           1047815027490
                                                Federation

    30.
           MIRK LLC I                          The Russian           1097746071466
           Mezhregionalnaya                     Federation
           lnfrastructurnaya
           Raschetnaya Kompaniya
           LLC

    31.
           Olympos Property                     Kazakhstan            061040016108
           Investment LLP I Olimpos
           Properti Investment LLP

    32.
           Onepro (or Dnepro)                        UK                  07273972
           Capital Limited

    33.
           Selkhozmashavtomatika               The Russian           1037739630610
           OJSC                                 Federation
    34.
           Sinniy Rinok Limited I                 Ukraine                32050314
           Siniy Rinok LLC

    35.
           Slavenergougol LLC                  The Russian           1047796284580
                                                Federation

    36.
           SPOCC Max-Well I                       Ukraine                34706364               Likmedpreparati
           Scientific Production
           Oncological Cardiological
           Centre Max-well TOV I
           Nauchno-virobnichy
           Onkologichny Ta
           Kardiologichny Tsentr
           Maks-Vell LLC

    37.
           ST Holding 000 I ST                 The Russian           1067759825440
           Holding LLC I ST Kholding            Federation
           LLC

    38.
           Strimveit 000 I Strimveit           The Russian           1067759324390
           LLC                                  Federation

    39.
           Stroitelnaya Komanda               The Russian            1037739917060
           Avillon LLC                         Federation


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 40.
           Stroi Elite LLC I Stroy-Eiit       The Russian          1067759423874
           LLCI Stroi-Eiit LLC                Federation
 41.
           TigerStroy LLC I                   The Russian          1067761274459
           TaygerStroy LLC I                  Federation
           TaigerStroi LLC

 42.
           Torus LLC                         The Russian           1067761096556
                                              Federation
 43.
           Vector LLC I Vektor LLC I         The Russian           1087746146773                                     Domino LLC (the Russian
           Vektor-AM LLC                      Federation                                                             Federation)- 50%

                                                                                                                     Legenda LLC (the Russian
                                                                                                                     Federation)- 50%

                                                                                                                     Poligon-plyus LLC (the Russian
                                                                                                                     Federation)- 50%

                                                                                                                     Brabus LLC (the Russian
                                                                                                                     Federation)- 50% (liquidated)

                                                                                                                     Kontinent F (the Russian
                                                                                                                     Federation)- 50% (liquidated)
 44.
           Westmount TOO I                   Kazakhstan             600700532012                                     Ekogeoneftegaz LLC (Kazakhstan)
           Vestmaunt LLC




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                                     SCHEDULE L

      The shares in, and the Direct and Indirect Assets of the following companies:
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            >-   --                              >   ,,-   _->   '




            Comfiany Name                   Company·'                . I· ·:·       Jurisdiction:              .
                ... .                          .Number                                               ·.   :
 1.   Abtahi Limited                         1409237                                       BVI

 2.   Alatau Capital Limited                07273892                                       UK

 3.   Ashmole lnc                               1409238                                    BVI

 4.   Athabasca Limited                         1409239                                    BVI

 5.   ATTA Finance LLC                   1097746624030                                   Russia

 6.   Boiden Asset Corp                         1584886                                    BVI

 7.   Bascome Limited                           1409240                                    BVI

 8.   Daghorn lnc                               1409268                                    BVI

 9.   Dual Channels Limited                     498676                                     BVI

 10. Entschede Limited                                                                     BVI

 11. Fine Tuner Limited                         498677                                     BVI

 12. Fluss lnc                                  1408760                                    BVI

 13. Fortitude Ventures Limited                 684942                                     BVI

14. Gartmann Incorporated                       1409272                                    BVI

15. Hadorn Corporation                          1409273                                    BVI

16.   Henshall Incorporated                     1409274                                   BVI

17. Jeffcott Group Limited                      630487                                     BVI

18. Kazoii-Astana Group Limited                 762642                               Hong Kong

19. Kittenfeld Limited                          1409275                                   BVI

20.   Kohler lnc                                1409235                                   BVI

21.   Kynnersley Limited                        1409236                                   BVI

22.   Marchal S.A.                              1409276                                   BVI

23.   Melkerts lnc                              1409278                                   BVI

24. Meppen S.A.                                 1409282                                   BVI

25.   Molony lnc                                1408754                                   BVI

26.   Mousson S.A.                              1409390                                   BVI

27. Nagle lnc                                   1408758                                   BVI



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29. Olsen Incorporated                      1408751         BVI

30.   Pimley Limited                        1408759         BVI

31. Tilberg Limited                         1409355         BVI

32. Wallbridge Investments Limited      06810337             UK

33.   Power Systems International           1025456         BVI
      Limited (formerly    Glen dale
      International     Investments
      Limited)




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                                      SCHEDULE M

      The shares in, and the Direct and Indirect Assets of the following companies:
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 1.   CJSC Ecotep                         1117746925427                  Russia

 2.   Financelnvest LLC                   5087746254327                  Russia

 3.   CJSC Logopark Medion               51177466039824                  Russia

 4.   Premierstroy LLC                    5077746898884                  Russia




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                                          SCHEDULE N

      The shares in and the Direct and Indirect Assets of the following companies·
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             Company, Name           ·>
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                                                    Nu.mb~r              .. •        ..
 1.   Logistic Project Management             1136686022967                                  Russia
      LLC/Eipiem LLC/LPM LLC

 2.   Stockroom/Stockrum CJSC                 1127746393092                                  Russia




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 IN THE HIGH COURT OF JUSTICE                         Case No: 2009 Folio 1099
 QUEEN'S BENCH DIVISION
 COMMERCIAL COURT

 Before the Honourable Mr Justice Teare
 And the Honourable Mr Justice Field and the Honourable Mr Justice Flaux
 Dated 23 November 2012 (amended 25 January 2013, 31 July 2013, 23 January
 2014, 14 March 2014 and 24 March 2014)

 BETWEEN:
                                  JSC BTA BANK
                                                            Applicant/Claimant
                                     -and-

                            (1) MUKHTAR ABLYAZOV
                                                                   Respondent/
                                                                First Defendant
                             (2) ROMAN SOLODCHENKO
                          (3) ZHAKSYLYK ZHARIMBETOV
                          (4) DREY ASSOCIATES LIMITED
                   (5) ANTHONY EDWARD THOMAS STROUD
                             (6) JOHN DOMINIC WILSON
                             (7) SARAH JULIET WILSON
                     (8) INTERFUNDING FACILITIES LIMITED
                            (9) ALEXANDER UDOVENKO
                                (10) 000 MARION PLUS
                              (11) 000 TETROCONSULT
                          (12) 000 KHUDRED-SERVICE 5
                                   (13) 000 TRAIKER
                                  (14) 000 STEK-1000
        (15) 000 PROYEKTNO-STROITELNAYA KOMPANIYA AMK-INVEST
                          (16) TURANALEM CAPITAL LLC
                            (17) ZRL BETEILIGUNGS AG
                                                         Defendants


                                    ORDER


Hogan Lovells International LLP
Atlantic House,
Holborn Viaduct,
London,
EC1A2FG

Ref. Christopher Hardman

Tel 020 7296 2000
Fax 020 7296 2001




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